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                         No. 23-35450 (w/ No. 23-35440)
           ______________________________________________________________________________

                 UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT
                   ______________________________________________________________

                        UNITED STATES OF AMERICA,
                              Plaintiﬀ-Appellee,
                                                v.
                                  STATE OF IDAHO,
                                  Defendant-Appellant,
                                                v.
                     MIKE MOYLE, Speaker of the Idaho
                       House of Representatives, et al.,
                      Proposed Intervenor-Defendants,
                            Movants-Appellants,
                                ___________________________________

On Appeal from the United States District Court for the District of Idaho
            Hon. B. Lynn Winmill, No. 1:22-cv-00329-BLW
                                ___________________________________

BRIEF OF APPELLANTS MIKE MOYLE, SPEAKER OF THE IDAHO HOUSE
 OF REPRESENTATIVES, CHUCK WINDER, PRESIDENT PRO TEMPORE
OF THE IDAHO SENATE & THE SIXTY-SEVENTH IDAHO LEGISLATURE
                                ___________________________________

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                 CORPORATE DISCLOSURE STATEMENT

      The Idaho Legislature, Speaker of the Idaho House of Representatives,

and President Pro Tempore of the Idaho Senate are not subsidiaries or affil-

iates of any publicly owned corporations. No publicly owned corporation is

a party to this case or has a financial interest in the outcome of this case.




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                              INTRODUCTION

     Our federalist system leaves Americans free to address the “profound

moral issue” of abortion in their respective States. Dobbs v. Jackson Women’s

Health Org., 597 U.S. 215, 223 (2022). Today, “Americans continue to hold

passionate and widely divergent views on abortion, and state legislatures

have acted accordingly.” Id. at 230. Idaho’s Defense of Life Act is one such

law. The Act generally prohibits abortion—distinct from lawful medical

treatment. Congress, for its part, has remained mostly neutral on abortion

policy; it has restricted abortion-related federal spending, protected con-

science objections, and otherwise deferred to state laws.

     But following the U.S. Supreme Court’s decision in Dobbs, the White

House directed federal agencies to expand access to abortion. The Depart-

ment of Health and Human Services responded days later with a novel legal

theory—that abortions are a condition of Medicare. This unprecedented suit

by the United States against Idaho followed. The government alleges that

the Emergency Medical Treatment and Labor Act, or EMTALA, requires

Medicare hospitals to provide abortions irrespective of state law.



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      The district court agreed and preliminarily enjoined Idaho’s Defense

of Life Act. That preliminary injunction has been stayed and un-stayed—

twice—and the government’s novel theory is now back before this Court. See

United States v. Idaho, 83 F.4th 1130, vacated, 82 F.4th 1296 (9th Cir. 2023) (en

banc); Moyle v. United States, 144 S. Ct. 2015 (2024). For the government to

prevail, it must convince this Court that EMTALA could require hospitals to

provide even unlawful medical treatments—that is, “Congress, in reliance on

the Spending Clause, can obligate recipients of federal funds to violate state

criminal law.” Moyle, 144 S. Ct. at 2022 (Barrett, J., concurring).

      It is hard to imagine a larger elephant for a tinier mousehole than what

the government contrived. See Whitman v. Am. Trucking Ass’ns, 531 U.S. 457,

468 (2001). EMTALA does not command physicians to perform abortions in

violation of state law. Its default rule is the opposite: it does “not preempt”

state law. 42 U.S.C. §1395dd(f). Nor could Congress have so commanded in

EMTALA, which is simply a spending condition. That Spending Clause leg-

islation cannot be forced on Idaho without its knowing and voluntary




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consent—both absent here. Because the government cannot establish likely

success on the merits, the preliminary injunction must be vacated.

                        JURISDICTIONAL STATEMENT

       The district court had federal-question jurisdiction over the govern-

ment’s preemption claim. 28 U.S.C. §1331. The district court issued a prelim-

inary injunction, which this Court has jurisdiction to review. 1-LEG-ER-51-

52; see 28 U.S.C. §1292(a)(1).1 On July 3, 2023, the Legislature timely appealed

the preliminary injunction after the district court denied motions for recon-

sideration on May 4, 2023. 4-LEG-ER-587; 1-LEG-ER-12; see Fed. R. App. P.

4(a)(1)(B)(i); Fed. R. App. P. 4(a)(4)(A)(iv). This Court granted a stay pending

appeal, which it then vacated for the matter to be reheard en banc. 82 F.4th

1296. The U.S. Supreme Court granted certiorari before judgment, which it

then dismissed as improvidently granted. 144 S. Ct. 2015.

          STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

       1. Whether any EMTALA requirement directly conflicts with Idaho’s

Defense of Life Act.


   1 The Legislature and State filed the cited excerpts of the record on August
7, 2023.

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      2. If so, whether EMTALA, as Spending Clause legislation, can consti-

tutionally require hospitals to violate state law without Idaho’s knowing or

voluntary acceptance of any such spending condition.

                        STATEMENT OF THE CASE

I.    Statutory History

      A.    EMTALA

      1. In 1986, Congress amended the Medicare Act to add new require-

ments, known today as EMTALA. See Pub. L. 99-272, §9121(b), 100 Stat. 164-

67 (codified as amended 42 U.S.C. §1395dd). Neither EMTALA, nor the

lengthy legislation of which it was a part, mentioned the word “abortion.”

Congress said its “provisions … do not preempt any State or local law re-

quirement, except to the extent that the requirement directly conflicts with a

requirement of this section.” 42 U.S.C. §1395dd(f).

      EMTALA applies only to Medicare-participating hospitals with emer-

gency departments. §§1395cc(a)(1)(I), 1395dd(a). It ensures access to emer-

gency services regardless of an individual’s ability to pay. §1395dd(a), (h).

Violations risk exclusion from Medicare, fines, and civil enforcement actions




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governed by “the law of the State in which the hospital is located.”

§1395dd(d)(1)-(2); see §1395cc(b)(2)(A).

      EMTALA requires that if “any individual” comes to the emergency

department, “the hospital must provide for an appropriate medical screen-

ing examination within [its] capability” to identify “emergency medical con-

dition[s].” §1395dd(a). A hospital generally cannot transfer or discharge that

patient without first providing “such medical treatment” to “stabilize” his

emergency medical condition for the transfer or discharge, unless an imme-

diate transfer would be safer. §1395dd(b)-(c), (e)(3). Stabilizing treatment is

treatment “within the staff and facilities available at the hospital,”

§1395dd(b)(1)(A), necessary to avoid “material deterioration of the condi-

tion” during transfer, §1395dd(e)(3)(A).

      2. In 1989, Congress amended EMTALA to clarify how its require-

ments apply specifically to a pregnant woman and “her unborn child.” The

amendment clarified that EMTALA’s definition of “emergency medical con-

dition” protects an “unborn child” (amended text in bold):

      (e)(1) The term “emergency medical condition” means—



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             (A) a medical condition manifesting itself by acute
                 symptoms of suﬃcient severity (including severe
                 pain) such that the absence of immediate medical at-
                 tention could reasonably be expected to result in—
                 (i)   placing the patient’s health of the individual
                       (or, with respect to a pregnant woman, the
                       health of the woman or her unborn child) in
                       serious jeopardy,
                 (ii) serious impairment to bodily functions, or
                 (iii) serious dysfunction of any bodily organ or
                       part.; or
             (B) with respect to a pregnant woman who is having
                 contractions—
                 (i)   that there is inadequate time to eﬀect a safe
                       transfer to another hospital before delivery,
                       or
                 (ii) that transfer may pose a threat to the health or
                       safety of the woman or the unborn child.

Pub. L. 101-239, §6211(h)(1)(A), 103 Stat. 2248 (42 U.S.C. §1395dd(e)(1)). With

that amended definition, EMTALA is clear that its stabilization provisions

apply also to an unborn child when an emergency medical condition puts

the child’s health “in serious jeopardy.” See §6211(h)(1)(C)(i), 103 Stat. 2248

(adding cross-reference to §1395dd(e)(1)(A)).

      For women in labor, the amendment also clarified how EMTALA’s

“transfer” rule applies. See §6211(c), 103 Stat. 2246. Generally, hospitals can-

not transfer patients whose “emergency medical condition[s] … ha[ve] not


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been stabilized” unless the benefits of a transfer outweigh the risks. 42 U.S.C.

§1395dd(c)(1). By adding references to the “unborn child,” the amendment

requires physicians to weigh benefits and risks to both a pregnant woman

and   “the   unborn     child.”      §6211(c)(3)(B),   (c)(5)(B),   103   Stat.   2246

(§1395dd(c)(1)(A)(ii), (c)(2)(A)).

      Finally, the amendment added a nondiscrimination provision for spe-

cialized hospitals, which are often on the receiving end of transfers, includ-

ing those with “neonatal intensive care units.” §6211(f), 103 Stat. 2247-48

(adding §1395dd(g)). Such hospitals “shall not refuse to accept an appropri-

ate transfer of an individual” who requires those “specialized capabilities,”

id., such as an “extremely premature infant[] born alive before 24 weeks,”

Exec. Order No. 13952, 85 Fed. Reg. 62187, 62187 (Sept. 25, 2020).

      3. EMTALA’s provisions are generally worded. They refer to an “un-

born child” but never “abortion.” Even at its most specific, when defining

when a woman in labor is sufficiently “stabilized” for “transfer,”

§1395dd(e)(3)(B), EMTALA does not prescribe particular treatments. EM-

TALA specifies that she is sufficiently “stabilized” once she “has delivered



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(including the placenta).” Id. Even that language does not prescribe how ex-

actly the hospital delivers her unborn child and placenta. EMTALA operates

at a higher level of generality. That is consistent with the Medicare Act,

which states its provisions should not be construed to allow federal officials

“to exercise any supervision or control over the practice of medicine or the

manner in which medical services are provided.” §1395.

      B.    Idaho’s Defense of Life Act

      1. For its first 100 years, Idaho outlawed abortion except when neces-

sary to “save” or “preserve” the pregnant mother’s life. Idaho’s earliest ter-

ritorial laws prohibited administering “any medicinal substance” or using

“any instruments” for abortion, unless a physician “deems it necessary … to

save her life.” 1863-1864 Terr. of Idaho Laws 443. After statehood, Idaho re-

enacted similar prohibitions except when “necessary to preserve her life.”

Planned Parenthood Great Nw. v. Idaho, 522 P.3d 1132, 1149-52 (Idaho 2023)

(collecting statutes).

      After Roe v. Wade, 410 U.S. 113 (1973), Idaho enacted revised abortion

statutes with provisions stating Idaho would reinstate abortion restrictions



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if Roe were overturned. E.g., 1973 Idaho Sess. Laws 442-48. Idaho made that

same promise again in 2020, enacting abortion restrictions to take effect 30

days after “any decision of the United States supreme court that restores to

the states their authority to prohibit abortion.” 2020 Idaho Sess. Laws 827

(codified as amended Idaho Code §18-622). That decision came in 2022 with

Dobbs, “return[ing] the issue of abortion to the people’s elected representa-

tives.” 597 U.S. at 232.

      2. Idaho’s abortion law was set to take effect on August 25, 2022. Idaho

Code §18-622(1)(a) (2020). The law subjected physicians to criminal penalties

and suspension or revocation of their licenses if they “intentionally termi-

nate[d]” the life of “a developing fetus” after “fertilization” with some ex-

ceptions. §§18-604(1), (10), 18-622(2) (2020); see also §18-622(4) (2020) (exclud-

ing “[m]edical treatment” resulting in “accidental death of, or unintentional

injury to, the unborn child”); Planned Parenthood, 522 P.3d at 1202-03 (exclud-

ing “ectopic and non-viable pregnancies”).

      Initially, the law allowed physicians to raise two affirmative defenses

to justify an abortion. First, if “the abortion was necessary to prevent the



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death of the pregnant woman,” then the abortion was permissible. §18-

622(3)(a)(ii) (2020). Second, if the pregnant woman (or her parent or guard-

ian) reported a rape or incest to appropriate authorities, then the abortion

was permissible. §18-622(3)(b) (2020).

      3. In July 2023, Idaho enacted the Defense of Life Act, amending its

abortion law to its current form. 2023 Idaho Sess. Laws 298; see Bradley v. Sch.

Bd. of Richmond, 416 U.S. 696, 711 (1974) (“[A] court is to apply the law in

effect at the time it renders its decision.”). It remains a crime for physicians

to perform or attempt abortions, §18-622(1), but the amendment replaced af-

firmative defenses with provisions allowing the following conduct:

      First, physicians may provide “[m]edical treatment … to a pregnant

woman” even if it “results in the accidental death of, or unintentional injury

to, the unborn child.” §18-622(4).

      Second, physicians may treat women for miscarriages and ectopic or

molar pregnancies. An “abortion” expressly is not “[t]he removal of a dead

unborn child,” “[t]he removal of an ectopic or molar pregnancy,” “[t]he

treatment of a woman who is no longer pregnant,” or other circumstances



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where there is no “developing fetus.” §18-604(1), (11); see Planned Parenthood,

522 P.3d at 1203 (interpreting definitions to require “some chance of survival

outside the womb”).

      Third, a physician may intentionally terminate a pregnancy if, “in his

good faith medical judgment and based on the facts known to the physician

at the time,” “the abortion was necessary to prevent the death of the preg-

nant woman.” §18-622(2)(a)(i). But “[n]o abortion shall be deemed necessary

to prevent the death of the pregnant woman because the physician believes

that the woman may or will take action to harm herself.” Id. The physician

must “provide[] the best opportunity for the unborn child to survive” (e.g.,

pre-term delivery), unless that would “have posed a greater risk of the death

of the pregnant woman.” §18-622(2)(a)(ii). These standards are “subjective,”

“focusing on the particular physician’s judgment,” and do “not require ob-

jective certainty.” Planned Parenthood, 522 P.3d at 1203. Nor does the excep-

tion demand “a particular level of immediacy, before the abortion can be

‘necessary’ to save the woman’s life.” Id.




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      Fourth, a physician may intentionally terminate a pregnancy “during

the first trimester” when a pregnant woman (or her parent or guardian) re-

ports to authorities that “she is the victim of an act of rape or incest.” §18-

622(2)(b).

      4. In these ways, Idaho law parallels federal laws that expressly regu-

late abortion or abortion funding. Congress has made express findings about

physicians’ “medical, legal, and ethical duties … to preserve and promote

life.” Gonzales v. Carhart, 550 U.S. 124, 157 (2007). It bans “partial-birth abor-

tion” except when “necessary to save the life of a mother.” 18 U.S.C. §1531(a).

It protects conscience objections to abortion. See, e.g., 42 U.S.C. §§300a-7,

300a-8. And federal funds cannot pay for abortions except “where the life of

the mother would be endangered” or in cases of rape or incest. Harris v.

McRae, 448 U.S. 297, 302-03 (1980).

II.   Procedural History

      A.     After Dobbs, the government rewrites EMTALA to require
             “abortion care.”

      1. Two weeks after Dobbs, President Biden issued an executive order

targeting the decision and directing the HHS Secretary to find ways “to


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protect and expand access to abortion care.” Exec. Order No. 14076, 87 Fed.

Reg. 42053, 42053 (July 8, 2022). Identifying EMTALA by name, the President

instructed the Secretary to “consider[] updates to current guidance” regard-

ing the statute’s requirements. Id. at 42054.

       Days later, the Secretary issued new EMTALA guidance. See HHS,

CMS,      Guidance     Document      QSO-22-22-Hospitals      (July    11,   2022),

https://perma.cc/8CR6-5SA6. The guidance requires “abortion” as “stabiliz-

ing treatment,” “irrespective of any state laws or mandates that apply to spe-

cific procedures”:

       If a physician believes that a pregnant patient presenting at an
       emergency department is experiencing an emergency medical
       condition as deﬁned by EMTALA, and that abortion is the stabi-
       lizing treatment necessary to resolve that condition, the physi-
       cian must provide that treatment.

Id.

       2. Weeks later, the government deployed that novel theory by filing

this suit against the State of Idaho. 4-LEG-ER-570-86. The government’s com-

plaint contained one claim, “Preemption Under the Supremacy Clause and

EMTALA,” 4-LEG-ER-584, and alleged the government was not “receiving




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the benefit of its bargain” for Medicare because Idaho law prohibits most

abortions, 4-LEG-ER-582.

     The Legislature and its leaders moved to intervene to defend state law.

See Idaho Code §67-465(1). The district court “grant[ed] permissive interven-

tion on a limited basis to allow the Legislature to present argument and evi-

dence (including witnesses) in opposition to the United States’ pending Mo-

tion for Preliminary Injunction.” 4-LEG-ER-515. After the district court

granted the preliminary injunction, the court “fully consider[ed] the Legis-

lature’s motion for reconsideration,” 2-LEG-ER-127, and concluded that “the

State and the Legislature may appeal,” 1-LEG-ER-12.

     B.    The government obtains a preliminary injunction.

     1. The government moved for a preliminary injunction less than three

weeks before Idaho’s abortion law was to take effect. The government sub-

mitted declarations identifying possible pregnancy-related emergency med-

ical conditions. The Legislature responded with its own declarations from

highly qualified physicians. For every example the government offered, the

Legislature’s physicians responded that there was no conflict between



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EMTALA and Idaho law, because procedures described were either “life-

saving procedure[s]” or otherwise not “abortion[s].” E.g., 4-LEG-ER-410.

They reached those conclusions based on decades of combined experience

in obstetrics and emergency care including thousands of live births, crafting

emergency room protocols for obstetric patients, and teaching appoint-

ments. 4-LEG-ER-406-07, 436-37.

      Ectopic pregnancy and molar pregnancy: The government said ec-

topic pregnancies and molar pregnancies were emergency medical condi-

tions that could not be treated in Idaho. 3-ER-205-07, 325-26, 356-57. The Leg-

islature’s witnesses testified that “[a]ny effort to redefine” treatment for these

conditions as “abortions” is “inexcusable” and “medically baseless.” 4-LEG-

ER-439-40; see 4-LEG-ER-410-12, 424-25. Treating such conditions is not

“abortion.” Planned Parenthood, 522 P.3d at 1203; Idaho Code §18-604(1)(c).

      Pre-eclampsia, eclampsia, and HELLP syndrome: The government

asserted pre-eclampsia, eclampsia, or HELLP syndrome could not be treated

in Idaho. 3-ER-328-29, 344-45, 349-52. The Legislature’s witnesses responded

that these conditions present “life-threatening situation[s]” and can be



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“highly lethal” and require “life-saving surgery” or “early delivery” in later

stages of pregnancy, both of which Idaho law permits. 4-LEG-ER-418-22,

440; see 4-LEG-ER-413; accord 3-ER-250-51, 254-58.

      Sepsis: Premature rupture of membranes (PROM) can cause sepsis,

which the government said physicians could not treat in Idaho. 3-ER-329-30,

341-42, 356. The Legislature’s witnesses responded that it would be “mal-

practice” not to treat preterm PROM as life-threatening or a reason for “early

delivery” in later stages of pregnancy. 4-LEG-ER-438-40; see 4-LEG-ER-416-

17; accord 3-ER-251-54.

      Severe heart failure: One government declarant hypothesized that

Idaho physicians cannot treat a pregnant woman with “severe heart failure”

who requires “termination of the pregnancy.” 3-ER-326-28. The Legislature’s

witnesses responded that life-saving treatment is allowed and clarified that

“[m]aking terminating the pregnancy the primary objective could in fact be

the worst first thing to do for the sake of the health of the mother,” rather

than immediately transferring her to a hospital with “highly specialized




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equipment and capabilities.” 4-LEG-ER-412-13; see 4-LEG-ER-439; accord 3-

ER-250.

      Placental abruption: The government identified placental abruption

and disseminated intravascular coagulation (DIC), which “creates a high

risk of death for the mother due to the rapid loss of large volumes of blood,”

as conditions that could not be treated. 3-ER-342-44; see 3-ER-330-31. The

Legislature’s witnesses responded that life-saving treatment is clearly per-

missible and that the baby is “doomed to die due to the ruptured placenta”

unless “an immediate C-section is performed” after viability. 4-LEG-ER-414-

15, 417-18; see 4-LEG-ER-440; accord 3-ER-252-54.

      The Legislature moved for a hearing to resolve these material factual

disputes. The court refused. 4-LEG-ER-397-400. The court concluded it was

“impractical” given the “complex factual dispute” and the short time before

Idaho’s law took effect. 4-LEG-ER-399-400.

      2. The district court preliminarily enjoined Idaho’s law “as applied to

medical care required by [EMTALA]” one day before the law was to take

effect. 1-LEG-ER-51-52. The court held EMTALA required “abortion care” as



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“stabilizing treatment” for pregnant women. 1-LEG-ER-32. It was “impossi-

ble to comply” with that requirement, the court ruled, because Idaho’s ex-

ceptions in its abortion law were too narrow. 1-LEG-ER-32-35. The opinion

relied entirely on the government’s declarants, citing them nearly 40 times,

while citing the Legislature’s physician witnesses twice each to dismiss their

testimony as “a difference of opinion.” 1-LEG-ER-35-36, 43 n.4. The court

said it was “immaterial” whether Idaho law allowed treatment for the iden-

tified pregnancy-related emergency conditions. 1-LEG-ER-34-35.

      The court’s preliminary injunction goes beyond EMTALA. The court

preliminarily enjoined the State and its officials from initiating criminal or

disciplinary proceedings for abortions performed “to avoid” emergency

medical conditions for “a pregnant patient.” 1-LEG-ER-51-52 (emphasis

added). To define those emergency conditions, the order quoted EMTALA’s

definition but omitted that definition’s reference to the “unborn child.” 1-

LEG-ER-51-52 (“‘placing the health of’ a pregnant patient ‘in serious jeop-

ardy,’” “serious impairment to bodily functions,” or “serious dysfunction of

any bodily organ or part” (quoting §1395dd(e)(1)(A))).



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      3. The Legislature asked for reconsideration. 2-LEG-ER-247-73. While

reconsideration motions were pending, the Idaho Supreme Court affirmed

the constitutionality of Idaho’s abortion law, interpreted it to exclude ectopic

and other non-viable pregnancies, and clarified its other parameters. Planned

Parenthood, 522 P.3d at 1202-05. The district court denied the reconsideration

motions without vacating or modifying the injunction based on the Idaho

Supreme Court’s decision. The district court concluded Idaho law was still

too narrow to satisfy EMTALA. 1-LEG-ER-2-13.

      C.    The Legislature seeks a stay and appeals.

      1. The Legislature and Attorney General appealed. 4-LEG-ER-587-89;

3-ER-386-89. The Legislature sought a stay of the preliminary injunction

pending appeal, which a panel of this Court granted. 83 F.4th 1130.

      The stay panel concluded that there was no direct conflict. EMTALA,

it reasoned, stops hospitals from “dumping indigent patients by either re-

fusing to provide emergency medical treatment or transferring patients be-

fore their conditions were stabilized.” Id. at 1136. It does not “require that a

hospital provide whatever treatment an individual medical professional



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may desire.” Id. The panel gave the example of a physician who thinks “an

organ transplant is necessary to stabilize a patient’s emergency medical con-

dition.” Id. “EMTALA would not then preempt a state’s requirements gov-

erning organ transplants.” Id. The court reasoned in the alternative that even

if EMTALA contained procedure-specific requirements, there was no “im-

plicit duty to perform abortions” causing “‘a material deterioration of the

condition’ of the child” when EMTALA required physicians to care for both

a pregnant woman and her unborn child. Id. And “all the hypotheticals pre-

sented by the district court” have “been shown to satisfy [Idaho’s] ‘life of the

mother’ standard,” meaning no conflict. Id. at 1138. The stay panel con-

cluded that the remaining factors favored a stay because the preliminary in-

junction undermined Idaho’s “self-governance” and “strong interest in pro-

tecting unborn life,” and the stay would not harm public health when

“Idaho’s law expressly contemplates necessary medical care for pregnant

women in distress.” Id. at 1139-40.

      2. The government sought this Court’s en banc review of the stay. The

Court vacated the stay and reinstated the preliminary injunction. 82 F.4th



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1296; Order 1, No. 23-35450 (Nov. 13, 2023), ECF No. 71. Judges Callahan,

Miller, Bress, and VanDyke dissented. Order 2. Not long after, the Fifth Cir-

cuit affirmed that EMTALA does not mandate “abortion care” and rejected

HHS’s post-Dobbs guidance as an unlawful interpretation of EMTALA. Texas

v. Becerra, 89 F.4th 529, 541-46 (5th Cir. 2024).

      3. The Legislature and Attorney General sought the Supreme Court’s

review. The Supreme Court granted emergency stay applications and

granted certiorari before judgment. Moyle v. United States, 144 S. Ct. 540

(2024); Idaho v. United States, 144 S. Ct. 541 (2024).

      After argument, the Court dismissed the writ as improvidently

granted. Moyle, 144 S. Ct. 2015. Justice Barrett’s concurring opinion, joined

by Chief Justice Roberts and Justice Kavanaugh, concluded the cases were

“no longer appropriate for early resolution.” Id. at 2019-20. That opinion ob-

served that “EMTALA’s reach is far more modest than it appeared” when

the Court granted review, and “Idaho law has materially changed” since en-

try of the preliminary injunction. Id. at 2021-22. The opinion highlighted the

federal government’s concessions at argument—namely, disavowing “that



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an abortion is ever required as stabilizing treatment for mental health con-

ditions” and representing that “federal conscience protections, for both hos-

pitals and individual physicians, apply in the EMTALA context.” Id. at 2021.

The opinion noted that the life-threatening medical conditions identified by

the government could be treated in Idaho. Id. Finally, the opinion identified

“a difficult and consequential argument” about whether EMTALA, as

Spending Clause legislation, “can obligate recipients of federal funds to vio-

late state criminal law.” Id. at 2022. The opinion concluded that “[t]he lower

courts should address the Spending Clause issue in the first instance.” Id.

      Justice Alito dissented, joined by Justices Thomas and Gorsuch. He ob-

served that EMTALA “unambiguously demands” hospitals protect “both a

pregnant woman and her ‘unborn child.’” Id. at 2027. He added that Spend-

ing Clause conditions like EMTALA “must be unambiguous” and require

“consent[]”—both absent here. Id. at 2028. He observed that the govern-

ment’s view of its spending power would allow Congress to “pay doctors to

perform not only emergency abortions but also third-trimester elective abor-

tions or eugenic abortions,” or “offer[] assisted suicide,” or “authorize the



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practice of medicine by any doctor who accepts Medicare payments even if

he or she does not meet the State’s licensing requirements.” Id. at 2034.

                           STANDARD OF REVIEW

      A preliminary injunction is a drastic remedy “never awarded as of

right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). The movant,

“by a clear showing,” Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012), must

establish likelihood of success, irreparable injury absent a preliminary in-

junction, that the balance of equities favor the movant, and that the injunc-

tion is in the public interest, Winter, 555 U.S. at 20. Likelihood of success “is

the most important factor.” Baird v. Bonta, 81 F.4th 1036, 1040 (9th Cir. 2023).

      Reversal of a preliminary injunction is warranted if the district court

“incorrectly applied the law, relied on clearly erroneous factual findings, or

otherwise abused its discretion.” Does 1-5 v. Chandler, 83 F.3d 1150, 1152 (9th

Cir. 1996). Questions of law, such as EMTALA’s meaning, are reviewed de

novo. Id. Reversal is warranted if “the court misapprehended the law with

respect to the underlying issues in the litigation.” Cal. Chamber of Com. v.

Council for Educ. & Rsch. on Toxics, 29 F.4th 468, 475 (9th Cir. 2022).



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                      SUMMARY OF THE ARGUMENT

      I.A. EMTALA does not preempt Idaho’s Defense of Life Act. EM-

TALA’s default rule is no preemption: no state law is displaced unless it “di-

rectly conflicts” with an EMTALA “requirement.” 42 U.S.C. §1395dd(f). EM-

TALA is best read to supplement state healthcare and criminal laws, not to

supplant them. Any contrary interpretation is inconsistent with the Medi-

care Act’s rule that it should not be “construed to authorize” federal officials

to control “the manner in which medical services are provided.” §1395.

      B. EMTALA prohibits Medicare hospitals from turning away patients

in the throes of a medical emergency. Its generally worded provisions re-

quire screening patients and then, if the hospital intends to transfer the pa-

tient, sufficiently stabilizing any emergency medical condition for the trans-

fer. Those requirements apply to an “unborn child” too. §1395dd(e)(1)(A)(i).

But EMTALA does not dictate how exactly to treat patients beyond its gen-

erally worded provisions to provide “such treatment,” “within the staff and

facilities available at the hospital,” to avoid a “material deterioration” of the




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patient’s condition when she is transferred. §1395dd(b)(1)(A), (e)(3). There is

no EMTALA requirement to provide “such treatment” if unlawful.

      C. Even if EMTALA required specific procedures, there is no abortion

requirement that “directly conflicts” with Idaho law. §1395dd(f). Idaho per-

mits treatment for each pregnancy-related emergency identified by the gov-

ernment’s witnesses. Reading EMTALA to require something more would

put it at war with its own terms—requiring stabilizing treatment for an “un-

born child” whose health is in “serious jeopardy,” §1395dd(e)(1)(A)(i)—and

other federal laws regulating abortion and abortion funding.

      D-E. The government misreads EMTALA to give HHS officials a line-

item veto over state healthcare and criminal laws. And the government ig-

nores EMTALA’s enforcement scheme in bringing this freestanding Su-

premacy Clause action against Idaho. Neither is consistent with the words

Congress chose for EMTALA.

      II.A. The government’s rewrite of EMTALA has unconstitutional im-

plications. EMTALA is Spending Clause legislation. Such legislation cannot

be forced on States without their consent. When Congress spends, as it does



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in the hundreds of billions for Medicare, it can put conditions on that spend-

ing, as it did with EMTALA. But those conditions must be knowingly and

voluntarily accepted. Because Medicare is an agreement with hospitals, the

State never had the chance to consent here, and still the preliminary injunc-

tion forces the government’s read of EMTALA upon all state officials.

      B. The Constitution leaves Idaho free to govern itself regarding abor-

tion. To encroach on the State’s historic police powers, Congress must do so

with a clear voice and pursuant to its enumerated powers. It did no such

thing in EMTALA. Idaho’s Defense of Life Act is not preempted.

                                 ARGUMENT

I.    EMTALA Does Not Preempt Idaho’s Defense of Life Act.

      There are different labels for preemption cases, “but all of them work

in the same way.” Murphy v. NCAA, 584 U.S. 453, 477 (2018). Courts ask

whether there is a conflict between federal and state law sufficient to sup-

plant state law. Here, EMTALA contains express language setting a high bar

for any such conflict. See 42 U.S.C. §1395dd(f). That text—requiring “di-

rectly” conflicting requirements—is the north star for this Court’s




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preemption inquiry and limits EMTALA’s preemptive reach. See Draper v.

Chiapuzio, 9 F.3d 1391, 1393 (9th Cir. 1993) (per curiam) (“We therefore look

only to this language and construe its preemptive effect as narrowly as pos-

sible.”); accord Cipollone v. Liggett Grp., 505 U.S. 504, 517 (1992). So while this

Court has described the EMTALA preemption inquiry as asking “whether it

is physically impossible to comply with both state and federal law” or

“whether the state law is an obstacle” to Congress’s “objectives,” that in-

quiry is still one rooted in EMTALA’s text. Draper, 9 F.3d at 1394. It is not a

“freewheeling judicial inquiry” about “federal objectives” divorced from the

text. Chamber of Com. of the U.S. v. Whiting, 563 U.S. 582, 607 (2011) (plurality

op.); see Draper, 9 F.3d at 1393-94.

      Comparing EMTALA and Idaho’s Defense of Life Act, there is no di-

rect conflict between a hospital’s EMTALA obligations and Idaho law. Infra

I.B. There is no evidence that EMTALA requires abortions that Idaho pro-

hibits. Infra I.C. There is no “impossibility.” Draper, 9 F.3d at 1393. Nor is

Idaho law an obstacle to Congress’s “purposes and objectives.” Id. Congress

enacted EMTALA in response to concerns that hospitals were “patient



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dumping.” Id.; accord Marshall v. E. Carroll Par. Hosp. Serv. Dist., 134 F.3d 319,

322 (5th Cir. 1998) (collecting cases). Its provisions tell hospitals how not to

“dump” patients, with generally worded provisions about screening pa-

tients and sufficiently stabilizing them to be transferred. See Bryant v. Ad-

ventist Health Sys./W., 289 F.3d 1162, 1165 (9th Cir. 2002). But EMTALA does

not command hospitals to provide unlawful medical treatments generally.

Nor does it command “abortion care” specifically, contra 1-LEG-ER-32, es-

pecially not abortions that Congress itself won’t fund, infra I.C.2. Because

there is no direct conflict, the preliminary injunction must be vacated.

      A.    EMTALA’s default rule is one of non-preemption.

      Whether EMTALA preempts Idaho law begins and ends with EM-

TALA’s “plain wording.” CSX Transp., Inc. v. Easterwood, 507 U.S. 658, 664

(1993); see Draper, 9 F.3d at 1393. EMTALA’s default rule is that it does not

preempt state law:

      The provisions of this section do not preempt any State or local
      law requirement, except to the extent that the requirement di-
      rectly conﬂicts with a requirement of this section.




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42 U.S.C. §1395dd(f) (emphases added). That provision “necessarily contains

the best evidence of Congress’ pre-emptive intent.” Sprietsma v. Mercury Ma-

rine, 537 U.S. 51, 62-63 (2002); see Draper, 9 F.3d at 1393.

      Three features of §1395dd(f)’s text and the Medicare Act confirm EM-

TALA’s “limited preemptive reach.” Hardy v. N.Y.C. Health & Hosps. Corp.,

164 F.3d 789, 795 (2d Cir. 1999); accord Draper, 9 F.3d at 1393 (construing EM-

TALA’s “preemptive effect as narrowly as possible”); Texas, 89 F.4th at 535

(noting EMTALA’s “limited preemptive effect”). First, EMTALA’s preemp-

tion provision is phrased in the negative: EMTALA does “not preempt …

except” for directly conflicting federal and state requirements. §1395dd(f)

(emphasis added); see Baker v. Adventist Health, Inc., 260 F.3d 987, 993 (9th

Cir. 2001) (describing §1395dd(f) as a “non-preemption provision”); Harry v.

Marchant, 291 F.3d 767, 773 (11th Cir. 2002) (same). That syntax sets a default

rule that EMTALA generally will not preempt state law. It “is an express

disclaimer of pre-emption.” De Veau v. Braisted, 363 U.S. 144, 157 (1960) (plu-

rality op.) (emphasis added) (holding state law was not “impliedly pre-

empted” by federal law that contained “an express disclaimer of pre-



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emption … ‘[e]xcept as explicitly provided to the contrary’”). By its own

terms, EMTALA anticipates its “provisions … do not preempt” and thus will

operate alongside state law. §1395dd(f).

      Second, to overcome EMTALA’s non-preemption default rule, EM-

TALA requires “directly conflict[ing]” federal- and state-law requirements.

Id. In Draper, this Court interpreted that “key phrase” to require a showing

of “impossibility” or that state law is an “obstacle” to Congress’s enacted

“objectives.” 9 F.3d at 1393. It is not enough for state laws to relate to EM-

TALA’s generally worded screening, stabilization, or transfer provisions;

there must be a direct conflict with an EMTALA requirement. See id. That “di-

rectly conflicts” language distinguishes EMTALA’s preemption provision

from broader provisions in other federal laws. See, e.g., Shaw v. Delta Air

Lines, Inc., 463 U.S. 85, 96-98 (1983) (considering ERISA’s preemption provi-

sion covering any state laws that “relate to” employee benefit plans). The

“directly conflicts” language differs from other Medicare preemption provi-

sions. E.g., 42 U.S.C. §1395w-25(a)(2)(E)(iv) (“relate to”); §1395w-26(b)(3)

(“with respect to”); §1395w-104(e)(5) (“contrary to … or restricts” and



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“pertains to”). Courts “presume[] that Congress acts intentionally” when us-

ing that different language. Bates v. United States, 522 U.S. 23, 29-30 (1997). Its

“limiting purpose” must be given its full effect, Bowsher v. Merck & Co., 460

U.S. 824, 839 (1983), narrowing EMTALA’s preemptive sweep, see Cipollone,

505 U.S. at 517.

      Third, EMTALA is a condition of Medicare, and the Medicare Act sets

a rule of construction that limits EMTALA’s preemptive reach. EMTALA

must be interpreted consistent with the Act’s opening proviso:

      Prohibition against any Federal interference

      Nothing in this subchapter shall be construed to authorize any
      Federal oﬃcer or employee to exercise any supervision or con-
      trol over the practice of medicine or the manner in which medical
      services are provided … .

42 U.S.C. §1395. Section 1395 confirms Congress’s desire to “minimize fed-

eral intrusion” in state healthcare regulation. Mass. Med. Soc’y v. Dukakis, 815

F.2d 790, 791 (1st Cir. 1987) (Breyer, J.); see also Texas, 89 F.4th at 542 (noting

provision “underscores the ‘congressional policy against the involvement of

federal personnel in medical treatment decisions’”). Section 1395 belies the

government’s theory that EMTALA could impose federal requirements


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directly conflicting with state laws regulating how medical services are pro-

vided. While Medicare regulations have of course proliferated, see Biden v.

Missouri, 595 U.S. 87, 94-95 (2022) (per curiam), none purports to use EM-

TALA to displace state laws regarding lawful medical services, see §1395.

      Together, those provisions leave no doubt that the presumption

against preemption applies in full force here. This Court construes EM-

TALA’s “preemptive effect as narrowly as possible.” Draper, 9 F.3d at 1393.

The government must overcome “the assumption that the historic police

powers of the States were not to be superseded by the Federal Act unless

that was the clear and manifest purpose of Congress.” Medtronic, Inc. v. Lohr,

518 U.S. 470, 485 (1996); see Cipollone, 505 U.S. at 518, 523. EMTALA itself

codifies the presumption that States have “primacy” over “matters of health

and safety,” Medtronic, 518 U.S. at 485, by setting a default rule that state

laws are not preempted, §1395dd(f). The government can point to no “di-

rectly” conflicting federal and state requirements to overcome that presump-

tion against preemption.




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       B.    No EMTALA requirement directly conﬂicts with Idaho law.

       No EMTALA requirement “directly conflicts” with Idaho’s Defense of

Life Act. §1395dd(f). EMTALA’s focus is instead extending a Medicare hos-

pital’s duty of emergency care to the hospital’s front door and offering a fed-

eral remedy for patient dumping. See §1395dd(d); Hardy, 164 F.3d at 792-93

(EMTALA “impose[s] on hospitals a legal duty (that the common law did

not recognize) to provide emergency care to all” (collecting cases)); Bryan v.

Rectors & Visitors of the Univ. of Va., 95 F.3d 349, 351 (4th Cir. 1996) (discussing

how EMTALA “gets patients into the system”).2 EMTALA’s generally

worded provisions prohibit Medicare hospitals from turning away patients

in the throes of a medical emergency. Hospitals must screen patients and

provide “such medical treatment” to allow patients to be safely transferred

or discharged. §1395dd(a)-(c), (e)(3)-(4).




   2Hospitals traditionally had no common-law duty to treat; in the years
leading up to EMTALA, several States began recognizing a duty to provide
emergency care. See Comment, To Treat or Not to Treat: A Hospital’s Duty to
Provide Emergency Care, 15 U.C. Davis L. Rev. 1047, 1048-60 (1982).

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      But as for how exactly hospitals treat patients, EMTALA contains no

procedure-specific language that purports to override state healthcare or

criminal laws regulating available treatments. See Texas, 89 F.4th at 542 (ob-

serving “EMTALA does not mandate any specific type of medical treat-

ment”); Harry, 291 F.3d at 773 (describing EMTALA as “supplement[ing]

state law” and rejecting that it “establish[ed] guidelines for patient care”);

see also Jackson v. E. Bay Hosp., 246 F.3d 1248, 1256 (9th Cir. 2001) (discussing

lack of specific screening requirements). EMTALA simply tells hospitals to

provide    “such     medical     treatment”     without     further    specificity.

§1395dd(e)(3)(A). That generally worded directive operates harmoniously

alongside state laws. To say otherwise would turn EMTALA’s presumption

against preemption on its head and contravene the Medicare Act’s rule that

federal officials do not supervise or control “the manner in which medical

services are provided.” §1395.




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            1.   EMTALA’s stabilization provisions are about patient
                 dumping and do not override state laws regulating
                 medical procedures.

      The district court zeroed in on EMTALA’s references to “stabilize” or

“stabilizing” as the basis for the preliminary injunction, reading those terms

to require “abortion care” as “stabilizing treatment.” 1-LEG-ER-32. The dis-

trict court read EMTALA to require abortions even for non-life-threatening

medical emergencies, such that Idaho’s exception allowing intentional preg-

nancy termination “to prevent … death,” Idaho Code §18-622(2)(a)(i), was

too narrow, too “uncertain,” and would result in “delayed care.” 1-LEG-ER-

33-34, 40, 45. Even after the Idaho Supreme Court clarified that the exception

turns on a physician’s subjective judgment, with no requirement to wait un-

til death is “imminent,” Planned Parenthood, 522 P.3d at 1203-04, the district

court did not vacate the preliminary injunction, 1-LEG-ER-12. Still today,

Idaho is enjoined from enforcing its law when abortions are necessary “to

avoid” harm to a pregnant woman’s bodily functions, organs, or parts. 1-

LEG-ER-52 (emphasis added). But EMTALA contains no requirement “to

avoid” adverse health events, let alone requirements to violate state



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healthcare or criminal laws or to ignore an “unborn child,” contra 42 U.S.C.

§1395dd(e)(1)(A)(i). The district court’s “overbroad injunction is an abuse of

discretion.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1140 (9th Cir. 2009).

      The district court plucked EMTALA’s use of “stabilize” out of context.

EMTALA’s provisions about screening, stabilization, and transferring pa-

tients work together, operating at a higher level of generality than requiring

“abortion care” specifically. EMTALA’s screening rule requires Medicare

hospitals to conduct an “appropriate medical screening” within their “capa-

bility” for individuals seeking emergency medical treatment. §1395dd(a).

That screening determines whether an “emergency medical condition” ex-

ists. Id.; see §1395dd(e)(1)(A) (defining emergency medical condition as one

that, without “immediate medical attention,” will place “the health of the

individual (or, with respect to a pregnant woman, the health of the woman

or her unborn child) in serious jeopardy” or risks “serious impairment to

bodily functions” or “serious dysfunction of any bodily organ or part”). EM-

TALA’s transfer rule generally prohibits hospitals from transferring or dis-

charging patients before addressing any such emergency medical condition.



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Medicare hospitals must first “stabilize” the emergency medical condition

sufficiently to avoid “material deterioration” of the condition during the

transfer, unless an immediate transfer would be safer or other conditions are

met. §1395dd(b)(1)(A), (c), (e)(3).

      EMTALA uses the term “stabilize” only in connection with those

screening and transfer rules. See Bryant, 289 F.3d at 1167 (noting “‘stabi-

lize’ … is defined only in connection with the transfer”); Harry, 291 F.3d at

775 (“There is no duty under EMTALA to provide stabilization treatment to

a patient with an emergency medical condition who is not transferred.”). As

HHS guidance instructs, EMTALA’s “[t]erms relating to ‘stabiliza-

tion’ … DO NOT REFLECT the common usage in the medical profession.”

CMS, Quality Improvement Organization Manual, Ch. 9, at 91 (Rev. 24, Issued

Feb. 12, 2016), https://perma.cc/EYL8-MNHY. Instead, EMTALA defines “to

stabilize” as follows:

      The term “to stabilize” means, with respect to an emergency
      medical condition … , to provide such medical treatment of the
      condition as may be necessary to assure, within reasonable med-
      ical probability, that no material deterioration of the condition is
      likely to result from or occur during the transfer of the individual from
      a facility … .

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§1395dd(e)(3)(A) (emphasis added). So defined, EMTALA contains a stabi-

lize-to-transfer requirement. It is not a freestanding requirement to cure a

patient. See, e.g., Brooker v. Desert Hosp. Corp., 947 F.2d 412, 415 (9th Cir. 1991);

Green v. Touro Infirmary, 992 F.2d 537, 539 (5th Cir. 1993). But it still closes an

important loophole: just as a Medicare hospital cannot turn away a patient

at its front door, that hospital cannot throw out that patient once inside the

emergency room if screening reveals an emergency medical condition. The

hospital must first address the condition enough so that it will not materially

deteriorate while the patient is transferred or discharged. See §1395dd(b)(1),

(e)(3)(A).

      EMTALA does not purport to go further, setting nationwide rules

about how exactly patients must be stabilized before being transferred, irre-

spective of state law. See Summers v. Baptist Med. Ctr. Arkadelphia, 91 F.3d

1132, 1137 (8th Cir. 1996) (en banc) (noting “every court that has considered

EMTALA has disclaimed any notion that it creates a general federal cause of

action for medical malpractice in emergency rooms”). HHS has agreed that

“EMTALA does not … establish a national standard of care.” 68 Fed. Reg.



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53,222, 53,244 (Sept. 9, 2003). EMTALA itself acknowledges that care might

be different at different hospitals: required stabilizing treatment is that

“within the staff and facilities available at the hospital.” §1395dd(b)(1)(A).

Even at its most specific, when EMTALA defines when a woman in labor is

“stabilized,” EMTALA goes only as far as requiring “deliver[y] (including

the placenta).” §1395dd(e)(3)(B). It does not prescribe particular proce-

dures—for example, requiring delivery by cesarian section or prohibiting

delivery by midwives. EMTALA leaves those particulars to hospitals, oper-

ating within the parameters of state law.

      Because EMTALA does not set nationwide rules about the particulars

of medical treatment, state laws regulating medical treatment do not “di-

rectly conflict[]” to trigger §1395dd(f). The potential for direct conflicts tends

to be about something else entirely—state laws conflicting with EMTALA’s

private right of action, including its two-year statute of limitations,

§1395dd(d). See, e.g., Power v. Arlington Hosp. Ass’n, 42 F.3d 851, 866 (4th Cir.

1994) (pre-suit notice requirement); Bird v. Pioneers Hosp., 121 F. Supp. 2d

1321, 1323-26 (D. Colo. 2000) (same); Est. of Enck by Enck v. Beggs, 1995 WL



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519148, at *3-4 (D. Kan. Aug. 30, 1995) (state savings statute extending statute

of limitations); Reid v. Indianapolis Osteopathic Med. Hosp., Inc., 709 F. Supp.

853, 855 (S.D. Ind. 1989) (statute requiring pre-suit review by medical review

panel); Williams v. County of Cook, 1997 WL 428534, at *5 (N.D. Ill. July 24,

1997) (statute immunizing public medical facilities). The few cases finding a

direct conflict with EMTALA’s stabilization provision involve state laws

permitting physicians to refuse to treat emergency medical conditions en-

tirely. See, e.g., Carlisle v. Frisbie Mem’l Hosp., 888 A.2d 405, 415 (N.H. 2005)

(concluding state law allowing peace officers to remove intoxicated patients

from emergency rooms directly conflicted with EMTALA’s duty to care for

emergency patients); In re Baby “K,” 16 F.3d 590, 596-98 (4th Cir. 1994) (con-

cluding state conscience law conflicted insofar as it allowed physicians to

refuse to treat respiratory distress for one patient while treating the same

condition for others). But nothing about EMTALA’s limited and generally

worded stabilize-to-transfer rule suggests physicians must offer treatments

that violate state law.




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            2.   The district court’s contrary interpretation would read
                 EMTALA to command hospitals to violate state laws.

      Never until this case has EMTALA been read to require hospitals to

provide “such treatment” even if that treatment violates state law. EMTALA

instead supplements state laws by extending Medicare hospitals’ duty of

emergency care to all patients. See Harry, 291 F.3d at 773; Bryan, 95 F.3d at

351; Vickers v. Nash Gen. Hosp., Inc., 78 F.3d 139, 142 (4th Cir. 1995) (Wil-

kinson, J.) (describing EMTALA as “creat[ing] a new cause of action … for

what amounts to failure to treat,” not “duplicat[ing]” preexisting malprac-

tice protections). It has never been understood to impose a national standard

of care, let alone one that would override state law. See Baker, 260 F.3d at 993

(explaining EMTALA was “not intended to create a national standard of care

for hospitals”); Eberhardt v. City of Los Angeles, 62 F.3d 1253, 1258 (9th Cir.

1995) (describing “Congress’s refusal to impose a national standard of

care”); accord Summers, 91 F.3d at 1137 (“EMTALA … does not set a national

emergency health care standard”). But that is where the logic of the prelim-

inary injunction leads: EMTALA requires whatever medical treatment fed-

eral officials command, even if it means violating state law. That turns


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EMTALA’s presumption against preemption on its head and contravenes

the Medicare Act’s other provisions.

     EMTALA’s codified presumption against preemption confirms that it

does not purport to override state laws regulating medical treatments. Supra

I.A.1. To overcome that presumption, there must be “directly” conflicting

“requirement[s].” §1395dd(f). But here, state laws regulating medical treat-

ments neither make it “impossible” to comply with EMTALA nor stand as

an “obstacle” to its patient-dumping prohibition. Draper, 9 F.3d at 1393.

     In particular, when EMTALA refers to “such treatment” or “such med-

ical treatment,” §1395dd(b)(1)(A), (e)(3)(A), those generally worded phrases

leave room for specific state laws regulating medical treatments. Providers

can “comply with both EMTALA and state law by offering stabilizing treat-

ment in accordance with state law.” Texas, 89 F.4th at 542. State laws regu-

lating abortion no more directly conflict with EMTALA’s stabilize-to-trans-

fer requirement than other state laws limiting specific medical treatments or

procedures. See, e.g., Idaho Code §§39-3404, 39-3407, 39-3408, 39-3409 (regu-

lating organ donation); N.Y. Comp. Codes R. & Regs., tit. 10, §58-2.2(c)



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(imposing restrictions on blood donors); Colo. Rev. Stat. §12-30-120(2)(a)

(prohibiting “medication abortion reversal”). Just as EMTALA does not ob-

ligate physicians to commit battery by taking blood from a nonconsenting

patient for an emergency blood transfusion, EMTALA does not obligate

physicians to violate other laws when providing “such treatment” to stabi-

lize patients for transfer. §1395dd(b)(1)(A). Abiding by state law does not

frustrate EMTALA’s objective of stopping hospitals’ “refusal to treat a pa-

tient who is unable to pay.” Draper, 9 F.3d at 1393. In such circumstances,

hospitals are not refusing to treat patients altogether, let alone refusing to

treat patients based on their inability to pay, contra §1395dd(h); hospitals are

simply treating patients within the parameters of state laws.

      It is the government’s contrary interpretation, adopted by the district

court, that thwarts Congress’s apparent purposes. The government reads

EMTALA to allow HHS officials to insist on particular procedures or treat-

ments, even if unlawful. See U.S. Br. 32-33, Moyle, 144 S. Ct. 2015. But the

Medicare Act says federal officials cannot become the supervisors and con-

trollers of “the manner in which medical services are provided.” §1395; cf.



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Goodman v. Sullivan, 891 F.2d 449, 451 (2d Cir. 1989) (per curiam) (explaining

reimbursement regulation was consistent with §1395 because it “does not

actually direct or prohibit any kind of treatment”). The government’s con-

trary reading also frustrates Medicare’s requirement that participating hos-

pitals and physicians comply with state law. HHS has said “hospitals are

required to be in compliance with Federal and State laws.” CMS, QSO-19-15-

EMTALA 3 (July 2, 2019), https://perma.cc/BD3P-G3ST (emphasis added)

(QSO-19-15-EMTALA). Federal law commands that Medicare-participating

hospitals comply with state-law licensing requirements and that physicians

are “legally authorized to practice medicine and surgery by the State.”

§1395x(e)(7), (r). Given those provisions, the only sensible reading of EM-

TALA is that hospitals will stabilize emergency medical conditions within

the parameters of state law regulating allowable medical treatments.

            3.   EMTALA’s stabilization provisions protect the “unborn
                 child” too.

      The district court also failed to reconcile EMTALA’s references to the

“unborn child” before concluding that EMTALA requires abortions specifi-

cally. See §1395dd(c)(1)(A)(ii), (c)(2)(A), (e)(1)(A)(i), (e)(1)(B)(ii). Most


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relevant here, EMTALA’s stabilization provisions apply not only to a preg-

nant woman but also to “her unborn child.” §1395dd(e)(1)(A)(i). EMTALA’s

stabilization obligations run specifically to the “emergency medical condi-

tion,” whether suffered by the “unborn child,” the “pregnant woman,” or

both. §1395dd(e)(1)(A)(i), (e)(3). The district court never grappled with that

text. But as the stay panel observed, EMTALA’s references to the “unborn

child” contemplate “dual stabilization requirements” for both a pregnant

woman and her unborn child. 83 F.4th at 1136; accord Texas, 89 F.4th at 544-

45 (discussing “equal stabilization obligations”). EMTALA leaves it to state

legislatures to choose how to strike that balance, including maximizing

health outcomes for both mother and child. See Texas, 89 F.4th at 544-45. So

it is in Idaho, where pregnancy termination is permitted for rare and life-

threatening emergencies, while giving a developing unborn child the best

chance at survival. Idaho Code §§18-604(1), (11), 18-622(2)(a), (4); Planned

Parenthood, 522 P.3d at 1203-05. Treating patients within those parameters

neither makes it impossible to comply with EMTALA requirements nor




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frustrates Congress’s objectives, which expressly include protecting the “un-

born child” too. See Draper, 9 F.3d at 1393.

      Any contrary reading hides an elephant in the unlikeliest of mouse-

holes: a statute requiring care for an “unborn child” when an emergency

places the child’s health “in serious jeopardy.” §1395dd(e)(1)(A)(i), (e)(3); see

Whitman, 531 U.S. at 468. It would “too easily find[] irreconcilable conflicts

in [Congress’s] work,” Epic Sys. Corp. v. Lewis, 584 U.S. 497, 511 (2018), to

interpret EMTALA to simultaneously require that life-saving medical treat-

ment and life-ending abortions.

      C.    Even if EMTALA required abortions, Idaho’s Defense of Life
            Act does not directly conﬂict.

      Even if “abortion care” were an EMTALA requirement, there would

be no direct conflict with Idaho’s Defense of Life Act. The government bears

the burden of showing a direct conflict. United States v. Skinna, 931 F.2d 530,

533 (9th Cir. 1991). That requires showing that “compliance is impossible,”

not merely that “noncompliance is possible.” Draper, 9 F.3d at 1393. The gov-

ernment cannot shoulder that burden if forced to grapple with what Idaho

law actually says and how it actually applies. There is no evidence of any


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such impossibility. Idaho law “simply addresses a concern” that EMTALA—

a law “to combat ‘patient dumping’”—“does not.” Id. And when Congress

in other federal laws actually addresses abortion, Congress draws the same

lines as Idaho.

            1.    There is no evidence that medical emergencies require
                  abortions in circumstances that Idaho prohibits.

      Even if EMTALA contained procedure-specific requirements, there is

no evidence that Idaho law prohibits medical treatment, including inten-

tional termination of pregnancy in rare cases, for any of the emergencies

identified by the government’s witnesses. And yet the district court found,

without an evidentiary hearing, that EMTALA could require abortions for

“serious health risks that may stop short of death.” 1-LEG-ER-10. Explained

below, that finding assumes something about state and federal law that is

not in the text and not in the record. Rather than put the government to its

burden of showing an actual conflict, Draper, 9 F.3d at 1393, the district court

deemed it “immaterial” whether the pregnancy-related conditions identified

by the government’s witnesses could be treated in Idaho, see 1-LEG-ER-34-

36, 43 n.4. The district court then granted the government a preliminary


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injunction despite evidence that those conditions could be treated in Idaho

and despite the Legislature’s request for an evidentiary hearing about the

same. Supra pp.14-17.3 The court erred by preliminarily enjoining state law

based on “sheer speculation.” Pratt v. Rowland, 65 F.3d 802, 808 (9th Cir.

1995) (reversing preliminary injunction); see also Rice v. Norman Williams Co.,

458 U.S. 654, 659 (1982) (“a hypothetical or potential conflict is insufficient”).

       Idaho’s Defense of Life Act targets elective abortions, not emergency

medical care. See Planned Parenthood, 522 P.3d at 1202-04. Idaho law distin-

guishes “criminal abortions” from life-saving measures and other “[m]edical

treatment,” even if “result[ing] in the accidental death of, or unintentional

injury to, the unborn child.” Idaho Code §18-622(2)(a), (4). Nothing in Idaho

law interferes with physicians’ treatment of miscarriages, ectopic pregnan-

cies, and molar pregnancies. §18-604(1). And in those rare circumstances

when pregnancy termination is required, Idaho allows such terminations



   3 Other circuits would require an evidentiary hearing. Compare Arrowpoint
Cap. Corp. v. Arrowpoint Asset Mgmt., 793 F.3d 313, 324 & n.11 (3d Cir. 2015)
(collecting decisions from Second, Third, Fourth, Fifth, Sixth, Seventh, Elev-
enth, and D.C. Circuits), with Int’l Molders’ & Allied Workers’ Local Union No.
164 v. Nelson, 799 F.2d 547, 555 (9th Cir. 1986).

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when “necessary to prevent the death of the pregnant woman,” while still

aiming to give “the best opportunity for the unborn child to survive.” §18-

622(2)(a). Nothing in Idaho law requires “delayed care,” contra 1-LEG-ER-

45, or “guaranteed” death, contra 1-LEG-ER-42. The Idaho Supreme Court

has spoken: there is no “immediacy” requirement, no “certainty” require-

ment, and no “medical consensus” requirement before a physician may ter-

minate a pregnancy for life-threatening medical emergencies. Planned

Parenthood, 522 P.3d at 1203-04. Idaho law “leaves wide room for the physi-

cian’s ‘good faith medical judgment’” to decide when that life-saving treat-

ment is warranted. Id. at 1203. The district court was bound by that interpre-

tation of Idaho law, R.A.V. v. City of St. Paul, 505 U.S. 377, 381 (1992), but

ignored it, see 1-LEG-ER-9-12 (refusing to reconsider preliminary injunction

based on Idaho Supreme Court’s decision).

      The government cannot meet its burden to identify a direct conflict be-

tween those features of Idaho law and EMTALA to “overcom[e] th[e] pre-

sumption” that Idaho law “is valid.” Pharm. Rsch. & Mfrs. of Am. v. Walsh,

538 U.S. 644, 661-62 (2003); see Draper, 9 F.3d at 1393-94. The government’s



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declarants identified no medical emergencies, short of life-threatening emer-

gencies, for which pregnancy termination is the only possible stabilizing

treatment; they instead testified about “life-threatening” and “dire circum-

stances” where “death” was “imminent.” 3-ER-340-43; see also, e.g., 3-ER-349-

52, 3-ER-356-58. The Legislature’s witnesses, qualified physicians, testified

that they would treat every condition as life-threatening without hesitation.4

Those physicians’ good-faith, subjective views control under Idaho law.

Planned Parenthood, 522 P.3d at 1203. They explained how every identified

condition could be treated with “lawful medical procedure[s]”—some of

which were not even “abortions”—because each condition involved life-

threatening circumstances where “no informed, competent professional

would second-guess the legality of the procedure.” 4-LEG-ER-438-40; see 3-

ER-248-60, 4-LEG-ER-407-26; see also 4-LEG-ER-403 (testifying that “no

Idaho prosecuting attorney would” “prosecute any health care professional



   4 See 4-LEG-ER-416-17, 438-40 (preterm PROM and related complica-
tions); 4-LEG-ER-414, 417-18, 440 (placental abruption and related complica-
tions); 4-LEG-ER-418-19, 421-22, 424-25, 440 (preeclampsia and HELLP syn-
drome); 4-LEG-ER-409-10, 413-14, 419-20, 423-24, 425-26 (other necessary
“medical treatment”).

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based on facts like those set forth in those declarations”). Their testimony

was consistent with Idaho’s distinction between lawful medical treatment

and prohibited abortions, Idaho Code §18-622(2)(a), (4), where treating se-

vere heart failure, ectopic pregnancies, molar pregnancies, non-developing

pregnancies, and myriad other medical emergencies is not “abortion[].”

Planned Parenthood, 522 P.3d at 1202-04; see, e.g., 4-LEG-ER-409-10 (no medi-

cal “literature” or “studies” provide that “abortion is the first line treatment

for any medical emergency”). Against that evidence, the government cannot

establish that “compliance” with federal and state requirements “is impos-

sible.” Draper, 9 F.3d at 1393.

      The only conceivable conflict, if EMTALA’s requirements were proce-

dure-specific, would be Idaho’s express prohibition on abortions for mental

health emergencies. In Idaho, “[n]o abortion shall be deemed necessary to

prevent the death of the pregnant woman because the physician believes

that the woman may or will take action to harm herself.” Idaho Code §18-

622(2)(a)(i). But the government “emphatically disavowed” that conflict at

the Supreme Court, Moyle, 144 S. Ct. at 2021 (Barrett, J., concurring),



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maintaining that “pregnancy termination” is “not the accepted standard of

practice to treat any mental health emergency,” Tr. of Oral Arg. 76:16-78:5,

Moyle, 144 S. Ct. 2015.5

       There is no evidence of a direct conflict. See supra pp.14-17. The “record

contains no evidence to support it.” Stormans, 586 F.3d at 1119. There is thus

no basis for a preliminary injunction, which was premised on speculation,

that EMTALA requires “abortion care” for some heretofore unidentified

“health” emergency even though the government’s own witnesses would

not even go so far. See Norman Williams, 458 U.S. at 659; Chicanos Por La Causa,

Inc. v. Napolitano, 558 F.3d 856, 866 (9th Cir. 2009) (rejecting mere “potential




   5The concession is consistent with the Legislature’s interpretation of EM-
TALA, not the government’s. If EMTALA’s reference to “treatment” is lawful
medical treatment, supra I.A.2, then the concession makes sense. But if, as
the government claims, EMTALA requires unlawful medical treatment if fed-
eral health experts think it is required, some have said abortions are treat-
ment for mental health conditions. Am. Psychiatric Ass’n, Position Statement
on Abortion and Women’s Reproductive Healthcare Rights (Mar. 2023),
https://perma.cc/UC35-26M9 (“Freedom to act to interrupt pregnancy must
be considered a mental health imperative … .”); accord Moyle, 144 S. Ct. at
2039-40 (Alito, J., dissenting).

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for conflict” based on “a speculative, hypothetical possibility”), aff’d sub

nom., Whiting, 563 U.S. 582.

            2.   Idaho law draws the same lines Congress has drawn
                 when restricting abortions or abortion funding.

      It beggars belief that EMTALA contains an abortion requirement di-

rectly conflicting with Idaho law when Congress has drawn the same lines

as Idaho. Explained below, federal abortion laws, like Idaho’s, permit abor-

tions or abortion-related funding when necessary to prevent death but not,

more broadly, for health-related reasons short of life-threatening circum-

stances. Contra 1-LEG-ER-10. It makes little sense that EMTALA—Spending

Clause legislation—could command those health-related abortions that

Congress won’t otherwise pay for.

      Congress has remained mostly neutral on abortion. It has prohibited

some abortions and otherwise deferred to state law. See 18 U.S.C. §1531(a)

(banning partial-birth abortion except when “necessary to save the life of a

mother whose life is endangered” by a “physical” condition); §§1461, 1462

(banning use of the mails for abortion instruments or medicine); 42 U.S.C.

§289g-1(b)(2)(A) (permitting fetal tissue research only if “the abortion was


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performed in accordance with applicable State law”); §1396u-2(e)(1)(B) (ex-

empting “abortion services, except that a State may impose a sanction on any

medicaid managed care organization that has a contract to provide abortion

services”). The Affordable Care Act, for example, bars federal funds for abor-

tion, disclaims preemption of state abortion laws, and allows States to “elect

to prohibit abortion coverage in qualified health plans offered through an

Exchange in such State if such State enacts a law to provide for such prohi-

bition.” 42 U.S.C. §18023(a)(1), (b)(2), (c)(1). Similarly, the Freedom of Access

to Clinic Entrances Act prohibits obstructing abortion clinics but states that

nothing in the Act “shall be construed … to interfere with the enforcement

of State or local laws regulating the performance of abortions or other repro-

ductive health services.” 18 U.S.C. §248(d)(4).

      Congress has also acknowledged and respected abortion-related con-

science objections. Federal laws prohibit discrimination against healthcare

providers who refuse to provide or facilitate abortions. See 42 U.S.C.

§238n(a); §300a-7(b), (c)(1), (d); §18023(b)(4). And federal officials cannot re-

quire certain recipients of public health funds to perform abortions or



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otherwise “coerce” a woman “to undergo an abortion … by threatening [her]

with the loss of, or disqualification for the receipt of, … [f]ederal financial

assistance.” §300a-8.

      Most telling, for as long as EMTALA has existed, Congress has gener-

ally prohibited the use of federal funds to pay for abortions that the govern-

ment now insists EMTALA requires. See Harris, 448 U.S. at 302-03. When

Congress enacted EMTALA, the Hyde Amendment allowed federal funds

for abortions only “where the life of the mother would be endangered if the

fetus were carried to term”—the same line that Idaho draws. See Pub. L. 99-

178, §204, 99 Stat. 1119 (1985). Other funding restrictions bind HHS and other

federal agencies still today; restrictions sometimes except abortions when a

woman is “in danger of death” due to a “physical” condition but not abor-

tions for non-life-threatening conditions. See Further Consolidated Appro-

priations Act, Pub. L. 118-47, §§613-614, 810, 506-507, 138 Stat. 568, 591, 703

(2024) (District of Columbia, Labor, HHS, Education, federal employee

health benefits); 10 U.S.C. §1093 (Defense); 22 U.S.C. §2151b(f) (foreign assis-

tance); 25 U.S.C. §1676 (Indian Health Service); Pub. L. 102-585, 106 Stat. 4947



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(38 U.S.C. §1710 note) (Veterans Affairs). Other HHS programs preclude

abortion funding altogether. Federal funding cannot be used for family plan-

ning programs “where abortion is a method of family planning.” 42 U.S.C.

§300a-6. School-based health centers are ineligible for funding if they “per-

form abortion services,” and other funding programs for suicide prevention

and child health assistance cannot be used for abortions. See 42 U.S.C.

§§280h-5(f)(1)(B), 290bb-36(i), 300z-10(a), 1397ee(c)(1), 1397jj(16).

       These longstanding congressional policies are irreconcilable with the

conclusion that Idaho law frustrated Congress’s objectives. See 1-LEG-ER-

38-47. That Congress has “imposed the same type of restriction[s]” as Idaho

“is surely evidence that Congress does not view such a restriction” under

state law “as incompatible” with federal law. De Veau, 363 U.S. at 156 (plu-

rality op.). EMTALA does not silently require abortions that Congress won’t

pay for. Nor does EMTALA command abortions over conscious objections.6



   6At the Supreme Court, the government represented that “EMTALA does
not override either set of conscience protections” for hospitals or individual
physicians, Tr. of Oral Arg. 87:23-89:8, but was not clear whether hospitals
had to be staffed to perform abortions or not, compare id. at 90:8-92:7, with id.
at 92:13-25. The suggestion that Catholic hospital staff must perform

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      When Congress intends to regulate abortion, it says so. The Court need

not read EMTALA to be “at war” with these federal laws. Epic Sys., 584 U.S.

at 502; see A. Scalia & B. Garner, Reading Law: The Interpretation of Legal Texts

252-55 (2012). The statutes should be read “as a harmonious whole,” Epic

Sys., 584 U.S. at 502, construing EMTALA consistent with congressional pol-

icy “specifically” addressing “the topic at hand.” FDA v. Brown & Williamson

Tobacco Corp., 529 U.S. 120, 133 (2000); see W. Va. Univ. Hosps., Inc. v. Casey,

499 U.S. 83, 100 (1991). Congress did not say so in EMTALA, leaving no basis

to infer a nationwide rule “prevent[ing] the people’s elected representatives

from deciding how abortion should be regulated” within each State. Dobbs,

597 U.S. at 256; see Cipollone, 505 U.S. at 517.




abortions cannot be reconciled with federal conscience laws that cover both
hospitals at the entity level, see 42 U.S.C. §238n(a); Pub. L. 118-47, §507(d)(1),
138 Stat. 703, and individual physicians, see 42 U.S.C. §300a-7(c)(1), (d). But
conscience protections are easily reconciled if EMTALA does not contain
procedure-specific requirements, as the Legislature argues.

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      D.    Reading the federal and state requirements to directly conﬂict
            oﬀends the major questions doctrine.

      For the foregoing reasons, there is no direct conflict on the face of fed-

eral and state requirements. EMTALA contains “dual stabilization require-

ments” for a pregnant woman and her unborn child. Idaho, 83 F.4th at 1136;

supra I.B.3. Likewise, Idaho distinguishes lawful medical treatment from

criminal abortion, Idaho Code §18-622(4), and permits pregnancy termina-

tion in rare cases while giving the unborn child the best chance at survival,

§18-622(2)(a). Neither law prescribes a one-size-fits-all “abortion care” re-

quirement. Contra 1-LEG-ER-32. Case over? Not yet, the government says.

      The government now contends that it overcomes §1395dd(f) because

Idaho law “directly conflicts” with the wisdom of HHS officials. See U.S. Br.

32-34, Moyle, 144 S. Ct. 2015. That theory hands HHS officials a line-item veto

over Idaho law with “political” and “economic” consequences that are “stag-

gering by any measure.” Biden v. Nebraska, 143 S. Ct. 2355, 2373 (2023).

      Congress decides major questions, not HHS officials. Any reasonable

interpreter of EMTALA would think Congress would make those “big-time

policy calls itself.” Id. at 2380 (Barrett, J., concurring). No executive official


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has any “power to act, let alone pre-empt the validly enacted legislation of a

sovereign State, unless and until Congress confers power upon it.” La. Pub.

Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986). There must be “clear congres-

sional authorization” to vest such enormous power in HHS officials—ulti-

mately a power to command hospitals to violate state laws when treating

patients lest they lose billions in federal funding. Utility Air Regul. Grp. v.

EPA, 573 U.S. 302, 324 (2014); see West Virginia v. EPA, 597 U.S. 697, 723 (2022)

(“something more than a merely plausible textual basis … is necessary”).

Congress said the opposite in the Medicare Act: federal officials do not exer-

cise “supervision or control over … the manner in which medical services

are provided.” §1395. EMTALA did not impliedly repeal that directive with

general references to “such treatment” or statutory headings like “[n]eces-

sary stabilizing treatment.” §1395dd(b); see West Virginia, 597 U.S. at 732.

Those terms must be read in context. See Nebraska, 143 S. Ct. at 2376 (Barrett,

J., concurring). And context—beginning with EMTALA’s presumption

against preemption—compels the conclusion that Congress did not hand

HHS officials the power to make nationwide abortion rules irrespective of



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state law. Supra I.A-C. Nor did HHS ever consider itself to have that power

until Dobbs. See Utility Air, 573 U.S. at 324 (expressing skepticism over agency

interpretation of “long-extant statute” resulting in a “transformative expan-

sion in [its] regulatory authority without clear congressional authoriza-

tion”).7 Before Dobbs, HHS said “EMTALA does not … establish a national

standard of care,” 68 Fed. Reg. at 53,244, and “hospitals are required to be in

compliance with Federal and State laws,” QSO-19-15-EMTALA 3.

       Reading EMTALA to hand HHS a line-item veto over state abortion

laws, contrary to Congress’s longstanding neutrality on abortion, would



   7 So far in this case, the government has identified no instance when HHS
officials commanded hospitals to provide abortions or medical treatments
that violate state law. At the Supreme Court, the government relied for the
first time on an HHS spreadsheet documenting more than 115,000 EMTALA
“deficiencies.” U.S. Br. 16 n.2, Moyle, 144 S. Ct. 2015 (citing CMS, Hospital
Surveys with 2567 Statement of Deficiencies – 2023Q4, https://perma.cc/A3TN-
8M67). It identified seven instances when HHS purportedly determined
abortion was “necessary” stabilizing “care.” Id. All but two involved ectopic
pregnancies—not abortions. The remaining two involved failures to account
for patients’ symptoms before discharging them; neither required hospitals
to perform abortions violating state law. Remarkably, one involved a Cath-
olic hospital transferring a patient after refusing to abort her 17 to 23-week
unborn child with fetal heart tones. HHS found the hospital’s failure to
“transfer[] via ambulance” compromised “the health of the unborn baby and
the patient.” Reply Br. of Pet’rs 13-14, No. 23-726, Moyle, 144 S. Ct. 2015.

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deny “the people of the various States” freedom “to address a question of

profound moral and social importance” and “evaluate those interests differ-

ently.” Dobbs, 597 U.S. at 256, 269. EMTALA’s text has not changed since

Dobbs. EMTALA has nothing to say on the subject. As the stay panel ob-

served, “[i]t is not the purpose of EMTALA to force hospitals to treat medical

conditions using certain procedures” but instead “to prevent hospitals from

neglecting poor and uninsured patients with the goal of protecting ‘the

health of the woman’ and ‘her unborn child.’” 83 F.4th at 1138 (quoting

§1395dd(e)(1)(A)); accord Eberhardt, 62 F.3d at 1258. EMTALA does not

preempt Idaho’s Defense of Life Act.

      E.    Even if there were a direct conﬂict, the government has no
            cause of action for this pre-enforcement suit.

       The district court further erred by concluding that the government

“has the unquestioned authority to sue.” 1-LEG-ER-26. But “like any other

plaintiﬀ, the federal government must ﬁrst have a cause of action against the

state.” United States v. California, 655 F.2d 914, 918 (9th Cir. 1980). It has none

against Idaho with respect to EMTALA—a spending condition that Idaho

itself has not accepted. Infra II.A.


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      The Supremacy Clause “certainly does not create a cause of action.”

Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 324-27 (2015). Nor could

the government “proceed against Idaho in equity” given EMTALA’s en-

forcement scheme. See id. at 327-29; accord Seminole Tribe of Fla. v. Florida, 517

U.S. 44, 74-75 (1996). EMTALA authorizes the government to impose ﬁnes

or terminate Medicare contracts after actual violations, not theoretical ones.

§1395dd(d)(1). That is the “typical remedy” for violating spending condi-

tions, Health & Hosp. Corp. of Marion Cnty. v. Talevski, 599 U.S. 166, 183 (2023),

and makes this case distinguishable from suits brought by the government

regarding federal immigration power or federal workers, cf. Arizona v. United

States, 567 U.S. 387 (2012); United States v. Washington, 596 U.S. 832 (2022).

Allowing this suit ignores that the government’s “only power” with respect

to spending conditions is “the threat of withholding funds” from those who

knowingly and voluntarily accepted them. United States v. MaIson, 600 F.2d

1295, 1299-1300 (9th Cir. 1979) (rejecting government’s suit for injunctive re-

lief against funding recipients); see Oklahoma v. U.S. Civ. Serv. Comm’n, 330

U.S. 127, 143-44 (1947). Idaho is no such funding recipient and has not



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accepted any “abortion care” requirement; even if it had, EMTALA’s en-

forcement scheme would preclude this pre-enforcement “Supremacy

Clause” action. See, e.g., United States v. Solomon, 563 F.2d 1121, 1128-29 (4th

Cir. 1977) (rejecting suit against federally funded state hospitals).

II.   EMTALA Could Not Constitutionally Preempt Idaho’s Defense of
      Life Act.

      Even if there were directly conflicting federal and state requirements,

there is no constitutional basis for telling Medicare hospitals to violate state

healthcare or criminal laws. From day one, the government has contended

that “Idaho’s law is invalid under the Supremacy Clause and is preempted

by federal law.” 4-LEG-ER-572. But “pointing to the Supremacy Clause”

alone “will not do.” Murphy, 584 U.S. at 477. The government must identify

what substantive “power” it has to preempt, beyond the Supremacy Clause.

Id. The Spending Clause confers no such power here. Congress cannot

simply pay hospitals or other entities to violate state laws. That unprece-

dented expansion of federal power goes well beyond what the Tenth

Amendment permits. The government’s view of EMTALA, adopted by the




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district court, trespasses on Idaho’s sovereignty without congressional or

constitutional authority.

      A.    EMTALA is Spending Clause legislation that must abide by
            the Spending Clause’s limits.

      The government is unabashed about the constitutional implications of

its preemption theory. It claims Spending Clause conditions have “full

preemptive force.” U.S. Br. 45, Moyle, 144 S. Ct. 2015. In its view, Congress

can regulate the practice of medicine via EMTALA or other spending condi-

tions; Congress could require or ban abortions or sex reassignment surger-

ies, for example, irrespective of state law. Tr. of Oral Arg. 96:15-98:12, Moyle,

144 S. Ct. 2015. And “what a state can’t do,” the government says, “is inter-

pose its own law as a direct obstacle to being able to fulfill the federal fund-

ing conditions.” Id. at 72:18-24.

      That expansive view of government spending gets our federalist sys-

tem backwards. The government cannot explain where Congress derives the

power to override state law with ambiguous spending terms, or terms that

the State has never accepted, or unduly coercive spending terms. That is be-

cause the Constitution confers no such power.


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      Spending Clause legislation is “[u]nlike ordinary legislation.” Cum-

mings v. Premier Rehab Keller, P.L.L.C., 596 U.S. 212, 219 (2022). It functions

“much in the nature of a contract.” Arlington Cent. Sch. Dist. Bd. of Educ. v.

Murphy, 548 U.S. 291, 296 (2006). It “operates based on consent,” only after

the recipient of federal funds “knowingly accepts the terms of th[e] [spend-

ing] ‘contract.’” Cummings, 596 U.S. at 219; see Armstrong, 575 U.S. at 323 (de-

scribing Medicaid as “offer[ing] the States a bargain,” where “Congress pro-

vides federal funds in exchange for the States’ agreement to spend them in

accordance with congressionally imposed conditions”). Spending Clause

conditions cannot be forced on parties “involuntarily,” Cummings, 596 U.S.

at 219, let alone on non-consenting States, see NFIB v. Sebelius, 567 U.S. 519,

577-78 (2012). While Congress may influence policy through spending, it can-

not coerce policy through spending. See id. at 579-82; New York v. United States,

505 U.S. 144, 176 (1992).

      1. The first rule of Spending Clause legislation is that Congress must

“speak with a clear voice.” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S.

1, 17 (1981). “[I]f Congress intends to impose a condition on the grant of



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federal moneys, it must do so unambiguously,” so that those who accept

federal funds do so “knowingly.” Id. Recipients must “clearly understand

the obligations that would come along with doing so.” Cummings, 596 U.S.

at 219 (cleaned up). Recipients “cannot knowingly accept conditions of

which they are ‘unaware’ or which they are ‘unable to ascertain.’” Arlington

Cent., 548 U.S. at 296.

      EMTALA contains no unambiguous requirement to provide medical

treatment in violation of state law generally, nor an unambiguous require-

ment to provide prohibited abortions specifically. Supra I.A-C. Medicare re-

quires providers to comply with state law, see §1395x(e)(7), (r); QSO-19-15-

EMTALA 3, and the Medicare Act says federal officials will not exercise “su-

pervision or control” over how medical treatment is provided, §1395. EM-

TALA contains no “unambiguously” worded abortion exception to those

rules. Pennhurst, 451 U.S. at 17. EMTALA instead compels hospitals to care

for an “unborn child.” Supra I.A.3. Nor would anyone expect a Medicare

condition to include abortion requirements when most Medicare enrollees

are beyond child-bearing age. See An Overview of Medicare, KFF (Feb. 13,



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2019), https://perma.cc/B4LD-CQUQ. For the few who aren’t, Congress pro-

hibits paying for pregnancy terminations except in life-threatening circum-

stances or in cases of rape and incest. Supra I.C.2. Until Dobbs, no one under-

stood EMTALA to depart from Congress’s longstanding neutrality on abor-

tion policy and silently override state abortion laws. Supra I.B.

      At the very least, EMTALA is ambiguous, and the government cannot

overcome the Spending Clause’s clear-statement requirement. The govern-

ment has said that abortion was “part of the United States’ bargain” when it

provided Medicare funding to Idaho hospitals, and Idaho’s law “prevents

the United States from receiving the benefit of its bargain.” 4-LEG-ER-582-

83. But nothing in EMTALA is “unambiguously clear” about that. Moyle, 144

S. Ct. at 2033 (Alito, J., dissenting). That alone is grounds for vacating the

preliminary injunction.

      2. Spending conditions also bind only those who voluntarily accept

them. States must retain the right “to defend their prerogatives by adopting

‘the simple expedient of not yielding’ to federal blandishments when they

do not want to embrace the federal policies as their own.” NFIB, 567 U.S. at



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579 (quoting Massachusetts v. Mellon, 262 U.S. 447, 482 (1923)). Here, Idaho

was never given that chance. The government’s Medicare agreements in

Idaho are with hospitals, not Idaho itself. 3-ER-361-62; see 3-ER-263-65 (ex-

plaining Idaho’s only Medicare-participating state hospital is a psychiatric

hospital with no emergency department). And still, the government ob-

tained a preliminary injunction against Idaho that forces EMTALA’s sup-

posed abortion condition on the State. Six Supreme Court Justices wrote or

joined opinions highlighting that “difficult and consequential” Spending

Clause conundrum. Moyle, 144 S. Ct. at 2022 (Barrett, J., concurring); id. at

2034 (Alito, J., dissenting) (noting the government “ha[d] not identified any

decision holding that a federal law enacted under the Spending Clause

preempts a state criminal law or public health regulation”).

     The preliminary injunction is antithetical to the notion that EMTALA,

as a spending condition, has no force unless accepted. See Mellon, 262 U.S. at

482; P. Hamburger, Purchasing Submission: Conditions, Power, and Freedom

129-33 (2021) (distinguishing spending conditions on those grounds for Su-

premacy Clause purposes). Allowing it to stand would transform Congress’s



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power to spend from a carrot to a stick, subjecting Idaho “involuntarily” to

congressional policy attached to spending that the State did not accept. Con-

tra Cummings, 596 U.S. at 219. The government cannot “force” its view of

EMTALA on Idaho with a preliminary or permanent injunction. Charles C.

Steward Mach. Co. v. Davis, 301 U.S. 548, 595 (1937). The Spending Clause first

requires the State’s consent. See, e.g., Linder v. United States, 268 U.S. 5, 18-23

(1925); A. Hamilton, Report on the Subject of Manufactures 54-55 (1791) (Brown

ed., 1827) (observing spending power did not “imply a power to do what-

ever else should appear to Congress conducive to the general welfare”).

      But here, Idaho is preliminarily enjoined from enforcing its law even

though Idaho is not a party to the Medicare contract. That unusual posture

distinguishes this suit from others brought to enforce spending conditions

against actual recipients of federal funding programs. See, e.g., Townsend v.

Swank, 404 U.S. 282, 283-85 (1971) (preemption suit against Illinois officials

as direct recipients of federal funds for Aid to Families with Dependent Chil-

dren program). And it distinguishes this suit from others about the use of or

control over the federal funds specifically. See, e.g., Coventry Health Care of



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Mo., Inc. v. Nevils, 581 U.S. 87, 95-99 (2017) (involving subrogation and reim-

bursement related to Federal Employee Health Benefits Act); Lawrence

County v. Lead-Deadwood Sch. Dist. No. 40-1, 469 U.S. 256, 258-59 (1985) (in-

volving local government’s discretion to spend federal funds); Philpott v. Es-

sex Cnty. Welfare Bd., 409 U.S. 413, 413-15 (1973) (involving New Jersey’s di-

version of federal welfare funds); Bennett v. Arkansas, 485 U.S. 395, 396-98

(1988) (per curiam) (similar); Townsend, 404 U.S. at 283-85 (involving Illi-

nois’s changes to eligibility requirements for federal funds). As the govern-

ment acknowledged before the Supreme Court, there is no other instance in

which Spending Clause conditions are forced on a non-consenting State the

way the preliminary injunction purports to override Idaho law here. See Tr.

of Oral Arg. 67:8-70:12; accord Moyle, 144 S. Ct. at 2034 (Alito, J., dissenting).

      As Chief Justice Burger observed in Townsend, spending conditions are

not “mandatory upon the States under the Supremacy Clause” the way other

federal laws are. 404 U.S. at 292 (Burger, C.J., concurring in judgment). When

acting pursuant to the Spending Clause, Congress depends on the States’

consent—like Illinois’s consent in Townsend to accept federal funds. When



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there is no consent of the States, the government cannot insist that policies

embodied in spending conditions preempt state laws. Cf. Pennhurst, 451 U.S.

at 17; Steward Mach., 301 U.S. at 585-86. From the States’ perspective, that

would make spending conditions no less mandatory than laws enacted pur-

suant to Congress’s enumerated powers. See Cummings, 596 U.S. at 219 (dis-

tinguishing “voluntarily” accepted spending conditions from “involuntar-

ily” imposed federal laws); Hodges v. Thompson, 311 F.3d 316, 320 (4th Cir.

2002) (per curiam) (distinguishing incentives in spending legislation from

preemptive Commerce Clause legislation).

      The government’s contrary rule would work an end-run around Con-

gress’s limited powers. To effectuate any policy, federal officials could take

ambiguous language in one of myriad spending conditions, sue a State,

claim the State’s law is an obstacle to newfound federal policy, and obtain

an injunction. Or for new spending legislation, Congress could simply pay

private hospitals to violate state healthcare or criminal laws. Imagine, for

example, federal spending conditioned on allowing assisted suicide; Con-

gress could insist on hospitals violating state bans on assisted suicide



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without regard to Congress’s enumerated powers. Cf. Washington v. Glucks-

berg, 521 U.S. 702, 732-36 (1997). If the Spending Clause gave such priority

“to every federal policy about anything” attached to spending legislation,

then there would be no limiting federal power. D. Engdahl, The Spending

Power, 44 Duke L.J. 2, 42, 77-78 (1994).

       Congress’s spending power has never been so unbounded. At most,

the Supremacy Clause empowers Congress to decide who is eligible for fed-

eral funds or how federal funds will be dispersed. See, e.g., Townsend, 404

U.S. at 283-85; Lead-Deadwood Sch. Dist., 469 U.S. at 258-59; see also, e.g., Wash-

ington, 596 U.S. at 835 (holding state law targeting federal workers’ compen-

sation was unconstitutional under the Supremacy Clause). But here, the EM-

TALA condition has nothing to do with Medicare eligibility or Medicare dol-

lars.8 The district court cannot enjoin enforcement of state law when Idaho

never knowingly or voluntarily accepted any “abortion care” requirement.




   8By comparison, other preemption provisions in the Medicare Act relate
directly to eligibility standards or operational requirements germane to the
use of funds. See 42 U.S.C. §§1395w-25(a)(2)(E)(iv), 1395w-26(b)(3), 1395w-
104(e)(5), 1395w-112(g).

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      3. Nor could there be knowing or voluntary consent to the govern-

ment’s coercive version of EMTALA: perform abortions in violation of state

law or risk losing billions in Medicare funding. The threatened “termina-

tion” of Medicare agreements is an extreme sanction, wholly disproportion-

ate to hospitals’ duties under Medicare. See Letter from Secretary Becerra to

Health Care Providers 2 (July 11, 2022), https://perma.cc/PA63-LC2F. Con-

sider the financial and public-health stakes. Medicare spending approached

$1 trillion in 2022, exceeding federal Medicaid spending. An Overview of Med-

icare, KFF (Feb. 13, 2019), https://perma.cc/B4LD-CQUQ. Between 2018 and

2020, Idaho hospitals received $3.4 billion in Medicare funding, with $74 mil-

lion for emergency departments. 3-ER-367-68. Roughly 390,000 Idahoans are

Medicare enrollees who depend on Idaho’s Medicare-participating hospitals

for   treatment.    Medicare    Monthly      Enrollment,   CMS     (May     2024),

https://perma.cc/VT38-F8V5. Terminating Medicare agreements with hospi-

tals would create a financial and public-health crisis in Idaho, with the State

left holding the bag.




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      The government’s abortion condition is an impermissible “gun to the

head.” NFIB, 567 U.S. at 581. It is not even about “the use of the funds.” Id.

at 580. Nor does it reflect Congress’s view of the “general Welfare.” Id. Con-

gress would not even use Medicare dollars to pay for the abortions that the

government now says EMTALA requires and Idaho prohibits. Supra I.C.2.

The government has no power to “pressur[e] the States to accept policy

changes,” NFIB, 567 U.S. at 580, especially those Congress itself rejects.

      While Congress’s power to spend encompasses the power to take

away, Oklahoma, 330 U.S. at 143-44, conditions must be knowingly and vol-

untarily accepted and not unduly coercive, NFIB, 567 U.S. at 580. There is no

enumerated power to place “state legislatures … under the direct control of

Congress.” Murphy, 584 U.S. at 474. Congress can “encourage the States” but

not “compel the States.” New York, 505 U.S. at 149. The preliminary injunc-

tion subverts those well-established limits of federal power.

      B.    Construing EMTALA to require abortion invades Idaho’s
            sovereignty contrary to the Tenth Amendment.

      The government’s preemption theory trespasses on Idaho’s retained

powers under the Tenth Amendment. It exceeds the federal government’s


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“few and defined” powers, The Federalist No. 45, at 313 (Madison) (Jacob E.

Cooke ed., 1961), to rewrite EMTALA to say something that it does not and

to force that rewrite on a non-consenting State. It ignores that States retain

“broad authority to enact legislation for the public good.” Bond v. United

States, 572 U.S. 844, 854 (2014).

      To alter that balance of power, the government must overcome clear-

statement rules that preserve the Constitution’s “system of dual sovereignty

between the States and the Federal Government.” Gregory v. Ashcroft, 501

U.S. 452, 457 (1991). It has always been “a very serious measure” for the fed-

eral government “[t]o interfere with the penal laws of a State,” “which Con-

gress cannot be supposed to adopt lightly, or inconsiderately.” Cohens v. Vir-

ginia, 19 U.S. (6 Wheat.) 264, 443 (1821). Any “intention” to do so must “be

clearly and unequivocally expressed.” Id.; A. Barrett, Substantive Canons and

Faithful Agency, 90 B.U. L. Rev. 109, 153-54 (2010) (collecting additional

cases). There must be “exceedingly clear language if [Congress] wishes to

significantly alter the balance between federal and state power.” Sackett v.

EPA, 598 U.S. 651, 679 (2023). That clear-statement rule is consistent with the



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presumption against preemption—“that the historic police powers of the

States were not to be superseded by the Federal Act unless that was the clear

and manifest purpose of Congress.” Rice v. Santa Fe Elevator Corp., 331 U.S.

218, 230 (1947); see, e.g., Reid v. Colorado, 187 U.S. 137, 147-50 (1902).

      There is no clear statement in EMTALA’s text to take away the States’

authority to regulate lawful medical treatment, supra I.A-B, or otherwise re-

quire abortions beyond what state law permits, supra I.C-D. Without a clear

statement, the Court should reject the government’s arguments for “expan-

sive federal authority to regulate medicine” contrary to “background prin-

ciples of our federal system.” Gonzales v. Oregon, 546 U.S. 243, 273-74 (2006)

(rejecting “the notion that Congress would use such an obscure grant of au-

thority” to displace Oregon’s assisted suicide law). Abortion had historically

been subject to differing schemes of state regulation. See Dobbs, 597 U.S. at

245-50 (tracing history); see also Memphis Ctr. for Reprod. Health v. Slatery, 14

F.4th 409, 448-49 (6th Cir. 2021) (Thapar, J., concurring in part and dissenting

in part) (noting States enacted 90 abortion-related laws in the first half of

2021). When Congress adds its voice to those state laws, it does so overtly



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and unambiguously, not silently or indirectly, and it does so with deference

to state law. Supra I.C.2. Finding a silent abortion requirement in EMTALA’s

text would be contrary to those federal laws and make for the most “obscure

grant of authority to regulate areas traditionally supervised by the States’

police power.” Gonzales, 546 U.S. at 274.

      The government has no power to exceed the statutory and constitu-

tional limits of its federal power with this unprecedented lawsuit. Idaho

waited nearly 50 years to reclaim the sovereign authority to legislate on abor-

tion. The State did so after Dobbs “return[ed] the issue of abortion to the peo-

ple’s elected representatives.” 597 U.S. at 232. Within weeks, the Govern-

ment hauled Idaho into federal court and demanded its compliance with a

newfound HHS abortion mandate nowhere in EMTALA’s text. The govern-

ment has no power to place state legislatures under its control. See Murphy,

584 U.S. at 474; New York, 505 U.S. at 176. Its novel preemption theory denies

States and the American people the freedom to chart their own course. The

people are “engaged in an earnest and profound debate” about the “moral-

ity” and “legality” of abortion or other sensitive medical procedures.



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Glucksberg, 521 U.S. at 735. EMTALA does not preempt that debate. Idaho

remains free to govern itself with respect to abortion.

                                CONCLUSION

      The Court should reverse and vacate the preliminary injunction.




Dated this 13th day                      Respectfully submiied,
of September, 2024
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                     CERTIFICATE OF COMPLIANCE

     In compliance with Federal Rule of Appellate Procedure 32(a)(7) and

Circuit Rule 32-1, I certify that according to the word count feature of the

word processing program used to prepare this brief, this brief contains

13,946 words, excluding the parts of the document exempted by Federal

Rule of Appellate Procedure Rule 32(f) and Circuit Rule 32-1, and complies

with the typeface requirements and length limits of Federal Rule of Appel-

late Procedure Rule 32(a) and Circuit Rule 32-1.

     Dated: September 13, 2024              /s/ Taylor A.R. Meehan




                         CERTIFICATE OF SERVICE

     I certify that I electronically ﬁled the foregoing brief on September 13,

2024, with the Clerk of the Court for the United States Court of Appeals for

the Ninth Circuit using the Appellate Electronic Filing system.

                                            /s/ Taylor A.R. Meehan




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            ADDENDUM OF STATUTORY PROVISIONS


Statutory Provisions                                              Page

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Idaho Code §18-604 (current)                                      ADD-12

Idaho Code §18-622 (current)                                      ADD-15




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                              42 U.S.C. §1395dd

                                   (current)

§1395dd. Examination and treatment for emergency medical conditions
and women in labor.

(a) Medical screening requirement

In the case of a hospital that has a hospital emergency department, if any
individual (whether or not eligible for benefits under this subchapter) comes
to the emergency department and a request is made on the individual’s be-
half for examination or treatment for a medical condition, the hospital must
provide for an appropriate medical screening examination within the capa-
bility of the hospital’s emergency department, including ancillary services
routinely available to the emergency department, to determine whether or
not an emergency medical condition (within the meaning of subsection
(e)(1)) exists.

(b) Necessary stabilizing treatment for emergency medical conditions and
    labor

   (1) In general

   If any individual (whether or not eligible for benefits under this subchap-
   ter) comes to a hospital and the hospital determines that the individual
   has an emergency medical condition, the hospital must provide either—

      (A) within the staff and facilities available at the hospital, for such fur-
          ther medical examination and such treatment as may be required
          to stabilize the medical condition, or

      (B) for transfer of the individual to another medical facility in accord-
          ance with subsection (c).

   (2) Refusal to consent to treatment




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   A hospital is deemed to meet the requirement of paragraph (1)(A) with
   respect to an individual if the hospital offers the individual the further
   medical examination and treatment described in that paragraph and in-
   forms the individual (or a person acting on the individual’s behalf) of the
   risks and benefits to the individual of such examination and treatment,
   but the individual (or a person acting on the individual’s behalf) refuses
   to consent to the examination and treatment. The hospital shall take all
   reasonable steps to secure the individual’s (or person’s) written informed
   consent to refuse such examination and treatment.

   (3) Refusal to consent to transfer

   A hospital is deemed to meet the requirement of paragraph (1) with re-
   spect to an individual if the hospital offers to transfer the individual to
   another medical facility in accordance with subsection (c) and informs
   the individual (or a person acting on the individual’s behalf) of the risks
   and benefits to the individual of such transfer, but the individual (or a
   person acting on the individual’s behalf) refuses to consent to the trans-
   fer. The hospital shall take all reasonable steps to secure the individual’s
   (or person’s) written informed consent to refuse such transfer.

(c) Restricting transfers until individual stabilized

   (1) Rule

   If an individual at a hospital has an emergency medical condition which
   has not been stabilized (within the meaning of subsection (e)(3)(B)), the
   hospital may not transfer the individual unless—

       (A)(i) the individual (or a legally responsible person acting on the in-
              dividual's behalf) after being informed of the hospital’s obliga-
              tions under this section and of the risk of transfer, in writing
              requests transfer to another medical facility,

         (ii) a physician (within the meaning of section 1395x(r)(1) of this
              title) has signed a certification that based upon the information



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         available at the time of transfer, the medical benefits reasonably
         expected from the provision of appropriate medical treatment
         at another medical facility outweigh the increased risks to the
         individual and, in the case of labor, to the unborn child from
         effecting the transfer, or

     (iii) if a physician is not physically present in the emergency depart-
           ment at the time an individual is transferred, a qualified medi-
           cal person (as defined by the Secretary in regulations) has
           signed a certification described in clause (ii) after a physician
           (as defined in section 1395x(r)(1) of this title), in consultation
           with the person, has made the determination described in such
           clause, and subsequently countersigns the certification; and

   (B) the transfer is an appropriate transfer (within the meaning of par-
       agraph (2)) to that facility.

A certification described in clause (ii) or (iii) of subparagraph (A) shall
include a summary of the risks and benefits upon which the certification
is based.

(2) Appropriate transfer

An appropriate transfer to a medical facility is a transfer—

   (A) in which the transferring hospital provides the medical treat-
      ment within its capacity which minimizes the risks to the individ-
      ual’s health and, in the case of a woman in labor, the health of the
      unborn child;

   (B) in which the receiving facility—

      (i) has available space and qualified personnel for the treatment of
          the individual, and

      (ii) has agreed to accept transfer of the individual and to provide
           appropriate medical treatment;


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     (C) in which the transferring hospital sends to the receiving facility all
         medical records (or copies thereof), related to the emergency con-
         dition for which the individual has presented, available at the time
         of the transfer, including records related to the individual's emer-
         gency medical condition, observations of signs or symptoms, pre-
         liminary diagnosis, treatment provided, results of any tests and
         the informed written consent or certification (or copy thereof) pro-
         vided under paragraph (1)(A), and the name and address of any
         on-call physician (described in subsection (d)(1)(C)) who has re-
         fused or failed to appear within a reasonable time to provide nec-
         essary stabilizing treatment;

     (D) in which the transfer is effected through qualified personnel and
        transportation equipment, as required including the use of neces-
        sary and medically appropriate life support measures during the
        transfer; and

     (E) which meets such other requirements as the Secretary may find
         necessary in the interest of the health and safety of individuals
         transferred.

(d) Enforcement

   (1) Civil money penalties

     (A) A participating hospital that negligently violates a requirement of
         this section is subject to a civil money penalty of not more than
         $50,000 (or not more than $25,000 in the case of a hospital with less
         than 100 beds) for each such violation. The provisions of section
         1320a-7a of this title (other than subsections (a) and (b)) shall apply
         to a civil money penalty under this subparagraph in the same
         manner as such provisions apply with respect to a penalty or pro-
         ceeding under section 1320a-7a(a) of this title.

     (B) Subject to subparagraph (C), any physician who is responsible for
         the examination, treatment, or transfer of an individual in a


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     participating hospital, including a physician on-call for the care of
     such an individual, and who negligently violates a requirement of
     this section, including a physician who—

     (i) signs a certification under subsection (c)(1)(A) that the medical
         benefits reasonably to be expected from a transfer to another
         facility outweigh the risks associated with the transfer, if the
         physician knew or should have known that the benefits did not
         outweigh the risks, or

    (ii) misrepresents an individual’s condition or other information,
         including a hospital’s obligations under this section,

     is subject to a civil money penalty of not more than $50,000 for
     each such violation and, if the violation is gross and flagrant or is
     repeated, to exclusion from participation in this subchapter and
     State health care programs. The provisions of section 1320a-7a of
     this title (other than the first and second sentences of subsection
     (a) and subsection (b)) shall apply to a civil money penalty and
     exclusion under this subparagraph in the same manner as such
     provisions apply with respect to a penalty, exclusion, or proceed-
     ing under section 1320a-7a(a) of this title.

 (C) If, after an initial examination, a physician determines that the in-
     dividual requires the services of a physician listed by the hospital
     on its list of on-call physicians (required to be maintained under
     section 1395cc(a)(1)(I) of this title) and notifies the on-call physi-
     cian and the on-call physician fails or refuses to appear within a
     reasonable period of time, and the physician orders the transfer of
     the individual because the physician determines that without the
     services of the on-call physician the benefits of transfer outweigh
     the risks of transfer, the physician authorizing the transfer shall
     not be subject to a penalty under subparagraph (B). However, the
     previous sentence shall not apply to the hospital or to the on-call
     physician who failed or refused to appear.


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(2) Civil enforcement

   (A) Personal harm

   Any individual who suffers personal harm as a direct result of a par-
   ticipating hospital’s violation of a requirement of this section may, in
   a civil action against the participating hospital, obtain those damages
   available for personal injury under the law of the State in which the
   hospital is located, and such equitable relief as is appropriate.

   (B) Financial loss to other medical facility

   Any medical facility that suffers a financial loss as a direct result of a
   participating hospital's violation of a requirement of this section may,
   in a civil action against the participating hospital, obtain those dam-
   ages available for financial loss, under the law of the State in which
   the hospital is located, and such equitable relief as is appropriate.

   (C) Limitations on actions

   No action may be brought under this paragraph more than two years
   after the date of the violation with respect to which the action is
   brought.

(3) Consultation with quality improvement organizations

In considering allegations of violations of the requirements of this section
in imposing sanctions under paragraph (1) or in terminating a hospital’s
participation under this subchapter, the Secretary shall request the ap-
propriate quality improvement organization (with a contract under part
B of subchapter XI) to assess whether the individual involved had an
emergency medical condition which had not been stabilized, and pro-
vide a report on its findings. Except in the case in which a delay would
jeopardize the health or safety of individuals, the Secretary shall request
such a review before effecting a sanction under paragraph (1) and shall
provide a period of at least 60 days for such review. Except in the case in
which a delay would jeopardize the health or safety of individuals, the


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    Secretary shall also request such a review before making a compliance
    determination as part of the process of terminating a hospital’s partici-
    pation under this subchapter for violations related to the appropriate-
    ness of a medical screening examination, stabilizing treatment, or an ap-
    propriate transfer as required by this section, and shall provide a period
    of 5 days for such review. The Secretary shall provide a copy of the or-
    ganization’s report to the hospital or physician consistent with confiden-
    tiality requirements imposed on the organization under such part B.

    (4) Notice upon closing an investigation

    The Secretary shall establish a procedure to notify hospitals and physi-
    cians when an investigation under this section is closed.

(e) Definitions

In this section:

    (1) The term “emergency medical condition” means—

       (A) a medical condition manifesting itself by acute symptoms of suf-
           ficient severity (including severe pain) such that the absence of
           immediate medical attention could reasonably be expected to re-
           sult in—

         (i) placing the health of the individual (or, with respect to a preg-
             nant woman, the health of the woman or her unborn child) in
             serious jeopardy,

         (ii) serious impairment to bodily functions, or

         (iii) serious dysfunction of any bodily organ or part; or

       (B) with respect to a pregnant woman who is having contractions—

         (i) that there is inadequate time to effect a safe transfer to another
             hospital before delivery, or



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     (ii) that transfer may pose a threat to the health or safety of the
          woman or the unborn child.

(2) The term “participating hospital” means a hospital that has entered
    into a provider agreement under section 1395cc of this title.

(3)(A) The term “to stabilize” means, with respect to an emergency med-
       ical condition described in paragraph (1)(A), to provide such med-
       ical treatment of the condition as may be necessary to assure,
       within reasonable medical probability, that no material deteriora-
       tion of the condition is likely to result from or occur during the
       transfer of the individual from a facility, or, with respect to an
       emergency medical condition described in paragraph (1)(B), to de-
       liver (including the placenta).

   (B) The term “stabilized” means, with respect to an emergency medi-
       cal condition described in paragraph (1)(A), that no material dete-
       rioration of the condition is likely, within reasonable medical
       probability, to result from or occur during the transfer of the indi-
       vidual from a facility, or, with respect to an emergency medical
       condition described in paragraph (1)(B), that the woman has de-
       livered (including the placenta).

(4) The term “transfer” means the movement (including the discharge)
    of an individual outside a hospital's facilities at the direction of any
    person employed by (or affiliated or associated, directly or indirectly,
    with) the hospital, but does not include such a movement of an indi-
    vidual who (A) has been declared dead, or (B) leaves the facility with-
    out the permission of any such person.

(5) The term “hospital” includes a critical access hospital (as defined in
    section 1395x(mm)(1) of this title) and a rural emergency hospital (as
    defined in section 1395x(kkk)(2) of this title).




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(f) Preemption

The provisions of this section do not preempt any State or local law require-
ment, except to the extent that the requirement directly conflicts with a re-
quirement of this section.

(g) Nondiscrimination

A participating hospital that has specialized capabilities or facilities (such as
burn units, shock-trauma units, neonatal intensive care units, or (with re-
spect to rural areas) regional referral centers as identified by the Secretary in
regulation) shall not refuse to accept an appropriate transfer of an individual
who requires such specialized capabilities or facilities if the hospital has the
capacity to treat the individual.

(h) No delay in examination or treatment

A participating hospital may not delay provision of an appropriate medical
screening examination required under subsection (a) or further medical ex-
amination and treatment required under subsection (b) in order to inquire
about the individual’s method of payment or insurance status.

(i) Whistleblower protections

A participating hospital may not penalize or take adverse action against a
qualified medical person described in subsection (c)(1)(A)(iii) or a physician
because the person or physician refuses to authorize the transfer of an indi-
vidual with an emergency medical condition that has not been stabilized or
against any hospital employee because the employee reports a violation of a
requirement of this section.




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                                42 U.S.C. §1395

                                    (current)

§1395. Prohibition against any Federal interference.

Nothing in this subchapter shall be construed to authorize any Federal of-
ficer or employee to exercise any supervision or control over the practice of
medicine or the manner in which medical services are provided, or over the
selection, tenure, or compensation of any officer or employee of any institu-
tion, agency, or person providing health services; or to exercise any supervi-
sion or control over the administration or operation of any such institution,
agency, or person.




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                      Idaho Code §18-604. Definitions.

                                    (current)

As used in this chapter:

(1) “Abortion” means the use of any means to intentionally terminate the
    clinically diagnosable pregnancy of a woman with knowledge that the
    termination by those means will, with reasonable likelihood, cause the
    death of the unborn child except that, for the purposes of this chapter,
    abortion shall not mean:

    (a) The use of an intrauterine device or birth control pill to inhibit or
        prevent ovulations, fertilization, or the implantation of a fertilized
        ovum within the uterus;

    (b) The removal of a dead unborn child;

    (c) The removal of an ectopic or molar pregnancy; or

    (d) The treatment of a woman who is no longer pregnant.

(2) “Department” means the Idaho department of health and welfare.

(3) “Down syndrome” means a chromosomal disorder associated either
    with an extra chromosome 21, in whole or in part, or an effective trisomy
    for chromosome 21. Down syndrome is sometimes referred to as “tri-
    somy 21.”

(4) “Emancipated” means any minor who has been married or is in active
    military service.




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(5) “Fetus” and “unborn child.” Each term means an individual organism
    of the species Homo sapiens from fertilization until live birth.

(6) “First trimester of pregnancy” means the first thirteen (13) weeks of a
    pregnancy.

(7) “Hospital” means an acute care general hospital in this state, licensed as
    provided in chapter 13, title 39, Idaho Code.

(8) “Informed consent” means a voluntary and knowing decision to un-
    dergo a specific procedure or treatment. To be voluntary, the decision
    must be made freely after sufficient time for contemplation and without
    coercion by any person. To be knowing, the decision must be based on
    the physician's accurate and substantially complete explanation of:

    (a) A description of any proposed treatment or procedure;

    (b) Any reasonably foreseeable complications and risks to the patient
        from such procedure, including those related to reproductive health;
        and
    (c) The manner in which such procedure and its foreseeable complica-
        tions and risks compare with those of each readily available alterna-
        tive to such procedure, including childbirth and adoption.

    The physician must provide the information in terms that can be under-
    stood by the person making the decision, with consideration of age,
    level of maturity and intellectual capability.

(9) “Medical emergency” means a condition that, on the basis of the physi-
    cian’s good faith clinical judgment, so complicates the medical condition
    of a pregnant woman as to necessitate the immediate abortion of her
    pregnancy to avert her death or for which a delay will create serious risk
    of substantial and irreversible impairment of a major bodily function.



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(10) “Minor” means a woman under eighteen (18) years of age.

(11) “Pregnant” and “pregnancy.” Each term shall mean the reproductive
     condition of having a developing fetus in the body and commences with
     fertilization.

(12) “Physician” means a person licensed to practice medicine and surgery
     or osteopathic medicine and surgery in this state as provided in chapter
     18, title 54, Idaho Code.

(13) “Second trimester of pregnancy” means that portion of a pregnancy fol-
     lowing the thirteenth week and preceding the point in time when the
     fetus becomes viable, and there is hereby created a legal presumption
     that the second trimester does not end before the commencement of the
     twenty-fifth week of pregnancy, upon which presumption any licensed
     physician may proceed in lawfully aborting a patient pursuant to sec-
     tion 18-608, Idaho Code, in which case the same shall be conclusive and
     unrebuttable in all civil or criminal proceedings.

(14) “Third trimester of pregnancy” means that portion of a pregnancy from
     and after the point in time when the fetus becomes viable.

(15) Any reference to a viable fetus shall be construed to mean a fetus poten-
     tially able to live outside the mother’s womb, albeit with artificial aid.




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                 Idaho Code §18-622. Defense of Life Act.

                                    (current)

(1) Except as provided in subsection (2) of this section, every person who
    performs or attempts to perform an abortion as defined in this chapter
    commits the crime of criminal abortion. Criminal abortion shall be a fel-
    ony punishable by a sentence of imprisonment of no less than two (2)
    years and no more than five (5) years in prison. The professional license
    of any health care professional who performs or attempts to perform an
    abortion or who assists in performing or attempting to perform an abor-
    tion in violation of this subsection shall be suspended by the appropriate
    licensing board for a minimum of six (6) months upon a first offense and
    shall be permanently revoked upon a subsequent offense.

(2) The following shall not be considered criminal abortions for purposes
    of subsection (1) of this section:

    (a) The abortion was performed or attempted by a physician as defined
        in this chapter and:

        (i) The physician determined, in his good faith medical judgment
            and based on the facts known to the physician at the time, that
            the abortion was necessary to prevent the death of the pregnant
            woman. No abortion shall be deemed necessary to prevent the
            death of the pregnant woman because the physician believes
            that the woman may or will take action to harm herself; and

        (ii) The physician performed or attempted to perform the abortion
             in the manner that, in his good faith medical judgment and
             based on the facts known to the physician at the time, provided
             the best opportunity for the unborn child to survive, unless, in
             his good faith medical judgment, termination of the pregnancy
             in that manner would have posed a greater risk of the death of
             the pregnant woman. No such greater risk shall be deemed to



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             exist because the physician believes that the woman may or
             will take action to harm herself; or

    (b) The abortion was performed or attempted by a physician as defined
        in this chapter during the first trimester of pregnancy and:

         (i) If the woman is not a minor or subject to a guardianship, then,
             prior to the performance of the abortion, the woman has re-
             ported to a law enforcement agency that she is the victim of an
             act of rape or incest and provided a copy of such report to the
             physician who is to perform the abortion. The copy of the re-
             port shall remain a confidential part of the woman’s medical
             record subject to applicable privacy laws; or

         (ii) If the woman is a minor or subject to a guardianship, then, prior
              to the performance of the abortion, the woman or her parent or
              guardian has reported to a law enforcement agency or child
              protective services that she is the victim of an act of rape or in-
              cest and a copy of such report has been provided to the physi-
              cian who is to perform the abortion. The copy of the report shall
              remain a confidential part of the woman’s medical record sub-
              ject to applicable privacy laws.

(3) If a report concerning an act of rape or incest is made to a law enforce-
    ment agency or child protective services pursuant to subsection (2)(b) of
    this section, then the person who made the report shall, upon request,
    be entitled to receive a copy of such report within seventy-two (72)
    hours of the report being made, provided that the report may be re-
    dacted as necessary to avoid interference with an investigation.

(4) Medical treatment provided to a pregnant woman by a health care pro-
    fessional as defined in this chapter that results in the accidental death
    of, or unintentional injury to, the unborn child shall not be a violation of
    this section.




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(5) Nothing in this section shall be construed to subject a pregnant woman
    on whom any abortion is performed or attempted to any criminal con-
    viction and penalty.




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